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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

RONALD BIANCHI AND DEBRA BIANCHI,                      )
MADELINE MARINO AND RICHARD                            )
BISHOP, MARIE CASTELO AND                              )   Case No.: 2:17-cv-01263-CCC-MF
FRANCISCO CASTELO, JOHN MAHONEY                        )
AND LAURA MAHONEY, RON CECCONI                         )
AND PATRICIA CECCONI AND EDA                           )
KAUFFMAN AND ROGER ROSENGARTEN,                        )
On behalf of themselves and all others similarly       )
Situated,                                              )   FIRST AMENDED CLASS
                                                       )   ACTION COMPLAINT
               Plaintiffs,                             )   DEMAND FOR JURY TRIAL
                                                       )
v.                                                     )
                                                       )
                                                       )
SAMSUNG ELECTRONICS AMERICA, INC.                      )
AND SAMSUNG ELECTRONICS CO., LTD.                      )
                                                       )
               Defendants                              )

                    FIRST AMENEDED CLASS ACTION COMPLAINT

       Ronald Bianchi and Debra Bianchi, Madeline Marino and Richard Bishop, Marie Castelo

and Francisco Castelo, John Mahoney and Laura Mahoney, Ron Cecconi and Patricia Cecconi,
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and Eda Kauffman and Roger Rosengarten (together, “Plaintiffs”) on behalf of themselves and all

others similarly situated (the “Class” or “Class Members”), by and through counsel, bring this

action against Defendant Samsung Electronics America, Inc. (“SEA”) and Samsung Electronics

Co., Ltd. (“SEC”). Defendants are collectively known as “Samsung.” Plaintiffs’ allegations are

based upon personal knowledge as to their own acts and experiences, the investigation of counsel,

and upon information and belief as to all other matters.

                                IDENTIFICATION OF PARTIES
                                    (Local Rule 10.1)

       1.      The names and addresses of the parties to this action are (a) Ronald Bianchi and

spouse Debra Bianchi, 5065 South Links Circle, Suffolk, Virginia 23453, (b) Madeline Marino,

4733 Jackfish Street, Bonita Springs, Florida 34134, (c) Richard Bishop, 4733 Jackfish Street,

Bonita Springs, Florida 34134, (d) Marie Castelo and spouse Francisco Castelo, 27251 Las

Nieves, Mission Viejo, California 92691 (e) John Mahoney and spouse Laura Mahoney, 194

School House Road, Oak Ridge, New Jersey 07438, (f) Ron Cecconi and spouse Patricia

Cecconi, 7 Feldspar Drive, Chadds Ford, Pennsylvania 19317, (g) Eda Kauffman and spouse

Roger Rosengarten 28 West Nippon Street, Philadelphia, Pennsylvania 19119, (h) Samsung

Electronics America, Inc., a corporation of the State of New York, with a principal place of

business at 85 Challenger Road, Ridgefield Park, New Jersey 07669, and (i) Samsung

Electronics Co., Ltd, formed under the laws of the Republic of Korea with a principal place of

business locates at 85 Challenger Road, Ridgefield, Park, New Jersey 07669.

                                       INTRODUCTION

        2.     Plaintiffs represent a proposed class of thousands of consumers who owned and

used residential refrigerators with French Door External Dispenser built-in-door ice makers (also

known as “ thru-door” ice makers) (the “Ice Makers”) which are set into a “cut-through” in the

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refrigerator door. The refrigerators, designed and manufactured by Samsung, and sold under the

Samsung brand name, include French doors for the upper fresh food compartment and pull-out

drawers for the freezer compartments, as well as the external dispenser built-in-door ice makers

which are the subject of this lawsuit. These refrigerators (the “Class Refrigerators”) are defective

in a number of ways, including but not limited to, defects that affect the built-in-door Ice Makers

which results in leaking and slush, over-freezing in the ice compartment, water leakage from the

ice house to below the refrigerator crisper trays, fan noise from an over-iced compartment, and

“freezing up” (collectively “the Defects”). The Defects are identified in a technical service bulletin
                                                               1
issued by Samsung on July 17, 2015 (“TSB 2015”).                   and in a technical service bulletin issued

earlier by Samsung on August 18, 2014 (“TSB 2014”) 2 The lists of models at issue in both TSB

2015 and TSB 2014 identify the models of the Class Refrigerators; these models are not, however,

exhaustive of the Samsung Class Refrigerators and Plaintiffs anticipate amending the definitions

of the Defects and the Class Refrigerators following discovery in this litigation.

           3.        Samsung’s TSB 2015 contains the following list of customer complaints,

recommended consumer repairs, and Samsung-identified model numbers, including but not

limited         to   RF23HCEDB,       RF23HCEDT,            RFH23HSESB,        RF23HTEDB,         RF23J9011,

RF24FSEDB,            RF25HMEDB,         RF263BEAE,          RF263TEAE,       RF26J7500,       RF28HDEDB,

RF28HDEDT, RF28HFEDB, RF28HFEDT, RF28HFPDB, RF30HDEDT, RF31FMEDB,

RF31FMESB, RF323TEDB, RF32FMQDB, RF34H9950, RF34H9960, ALL COLORS.

           4.        A sample of customer complaints incudes one or more of the following

symptoms:

                     1. Ice crystals and water droplets form at the bottom of the ice maker. Slushy Ice



1
    Samsung Service Bulletin No. ASC20150717001: French Door Refrigerators dated July 17, 2015. See Exhibit 1.
2
    Samsung Service Bulletin No. ASC20140818002, Refrigerators dated August 18, 2014. See Exhibit 2.
                                                        3
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                 2. Water under the crispers or running down the left side wall due to a gap in the
                    ice room.
                 3. Fan noise that stops when FF door is opened due to ice in ice room fan duct.
                 4. The ice bucket is stuck and will not come out (possible clogged drain).

See Exhibit 1.

Samsung’s prior bulletin TSB 2014 identifies one of the issues/consumer complaints identified

in TSB 2015, recommended consumer repairs, and Samsung-identified models numbers,

including but not limited to: RF23HCEDBBC/AA, RF28HFEDTBC/AA, RF28HFEDTSR/AA,

RF28HFEDTWW/AA, F28HFPDBSR/AA, RF30HBEDBSR/AA,RF30HDEDTSR/AA

RF31FMEDBBC/AA, RF31FMEDBSR/AARF31FMEDBWW/AA, RF31FMESBSR/AA, RF

323TEDBBC/AA, RF323TEDBSR/AA, F323TEDBWW/ AA, RF32FMQDBSR/AA,

RF32FMQDBXW/AA, RF34H9950S4/AA, RF34H9960S4/AA, RF23HCEDBSR/AA,

RF23HCEDBWW/AA, RF24FSEDBSR/AA, RF263BEAEBC/AA, RF263BEAESP/AA,

RF263BEAESR/AA, RF263BEAEWW/AA, RF263TEAEBC/AA, RF263TEAESP/AA,

RF263TEAESR/AA, RF263TEAEWW/AA, RF28HDEDBSR/AA, RF28HDEDTSR/AA,

RF28HFEDBBC/AA, RF28HFEDBSR/AA, RF28HFEDBWW/AA.

       5.        TSB 2014 identifies the following consumer complaints:

       Symptoms: Frozen water leaking onto ice room floor, ice forming on the bottom of the
       ice maker, and water dripping into the fresh food sections TSB 2014 identifies the
       following model numbers it deemed to be affected by an air gap in the ice maker cavity:

See Exhibit 2.

       6.        The Defects in the Ice Makers identified in TSB 2015 and TSB 2014 require the

consumers’ hands-on maintenance and repair, with no offer of repair or replacement from

Samsung. When an Ice Maker ices over and ceases to function, continual hands-on maintenance

is required; without it, the Ice Maker fails completely and is simply unusable.




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        7.     Not only by virtue of the Samsung technical service bulletins referenced above, but

also by virtue of numerous consumer complaints, Samsung has known of the Defects in the Class

Refrigerators for years and has taken no action to repair or replace the defective Ice Makers or the

Class Refrigerators. A large number of consumer complaints regarding the Defects continue to

this day.

        8.     Samsung’s conduct violates well-established contract, tort, and consumer

protection laws of Virginia, Florida, California, New Jersey, Pennsylvania and other states.

        9.     Plaintiffs bring this suit on behalf of themselves and other similarly-situated

consumers. They seek damages and appropriate equitable relief, including an order enjoining

Samsung from selling refrigerators with these defective Ice Makers.

                                                  PARTIES

        10.    Plaintiffs Ronald Bianchi and spouse Debra Bianchi are citizens and residents of

Suffolk, Commonwealth of Virginia.

        11.    Plaintiffs Madeline Marino and partner Richard Bishop are citizens and residents

of Bonita Springs, Lee County, Florida.

        12.    Plaintiffs Marie Castelo and spouse Francisco Castelo are citizens and residents of

Mission Viejo, Orange County, California.

        13.    Plaintiffs John Mahoney and spouse Laura Mahoney are citizen sand residents of

Oak Ridge, Passaic County, New Jersey.

        14.    Plaintiffs Ron Cecconi and spouse Patricia Cecconi are citizens and residents of

Chadds Ford, Delaware County, Pennsylvania.

        15.    Plaintiffs Eda Kauffman and spouse James Rosengarten are citizens and residents

of Philadelphia, Commonwealth of Pennsylvania.



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       16.     Defendant SEA is a New York corporation that maintains its principal place of

business at 85 Challenger Road, Ridgefield Park Bergen County, New Jersey 07669.

       17.     Defendant SEC is a corporation formed under the laws of the Republic of Korea

and conducts substantial business at the SEA headquarters at 85 Challenger Road, Ridgefield Park,

Bergen County, New Jersey 07669.

                                 JURISIDICTION AND VENUE

       18.     This Court has original jurisdiction pursuant to the Class Action Fairness Act, 28

U.S.C. § 1332(d), because (a) at least one member of the proposed class is a citizen of a state

different from Samsung, (b) the amount in controversy exceeds $5,000,000, exclusive of interest

and costs, (c) the proposed class consists of more than 100 members, and (d) none of the exceptions

under this subsection apply to this action.

       19.     The Court has personal jurisdiction over the parties because Defendants each

conduct substantial business in New Jersey, have had systematic and continuous contacts with

New Jersey, and have agents and representatives in New Jersey.

       20.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part

of the events giving rise to the claims occurred in and emanated out of this District. Defendants’

conduct has injured putative Class Members in this District. Defendant SEA transacts business

and maintains a principal place of business within this District. Accordingly, this Court has

jurisdiction over this action and venue is proper in this Judicial District.

       21.     The Federal Courthouse located in Newark, New Jersey is the proper vicinage for

this matter because SEA has its principal place of business in Ridgefield Park, New Jersey.




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                               PLAINTIFFS’ EXPERIENCES

Ronald and Debra Bianchi

       22.     On September 29, 2014, Ronald and Debra Bianchi, who reside in Suffolk,

Virginia, purchased a new Samsung 22.5 cu. foot French Door Refrigerator with an external built-

in ice maker online from a Home Depot in Fairfax, Virginia at a purchase price of $2,536.66. The

model number of the refrigerator is RF23HCEDBWW/AA and serial number is

065X43AF800007R.

       23.     Below is a web shot, of the 2014 specifications sheet for the Bianchi refrigerator

(page 1). The complete specifications sheet is attached as Exhibit 3.




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Bianchi Class Refrigerator.

http://pdf.lowes.com/dimensionsguides/887276966106_meas.pdf; website last visited on

February 17, 2017.

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        24.     During the week prior to the Bianchis’ purchase of their Samsung French Door

External Dispenser Refrigerator, Ronald Bianchi did extensive internet research to find a

refrigerator that would not only be of high quality, but also fit properly in the Bianchis’ kitchen

counter area. His research revealed that an LG model and the Samsung refrigerator at issue were

the top two high-end refrigerators with the highest survey ratings and that also met the Bianchis’

kitchen counter spacing requirements. Another selling point for the Bianchis, discovered online

at the time of Mr. Bianchi’s research, was Samsung’s marketing touting that the ice maker in their

22.5 cubic foot Samsung French Door External Dispenser refrigerator “Ice Master” ice maker

would make up to 5.2 pounds of ice per day. See http://pdf.lowes.com/dimensionsguides/

87276966106_meas.pdf; website last visited on February 17, 2017.

        25.     In addition, the Bianchis spoke with a sales person at Home Depot where they made

the purchase who likewise recommended both the LG and Samsung models that Mr. Bianchi had

identified in his internet research.

        26.     The Bianchis chose to purchase the Samsung model because it was on sale at Home

Depot at what Plaintiffs believed was a substantial savings. Had they known of the Defects,

however, the Bianchis would have chosen the LG brand unit that online descriptions and reviews

indicated to be a quality choice, and that also fit their kitchen spacing needs.

        27.     Below is a photograph of the Samsung French Door Refrigerator the Bianchis

purchased.




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        28.     On July 17, 2015, Samsung published TSB 2015 regarding the Defects, which

 includes ones specific to the Bianchis’ refrigerator - defects with the ice room, ice maker, and fan

 in the ice room. The Bianchis were never notified of the bulletin by Samsung or any of its agents.

 The Bianchis’ refrigerator was still under the one-year manufacturer warranty at this time.

        29.     In January of 2016, not long after the refrigerator/ice-maker’s one-year warranty

 expired, the Bianchis’ ice maker began experiencing water buildup in the exit chute within the

 door of the refrigerator where the ice maker is located; water would leak into the ice access area

 in the refrigerator door, filling the reservoir at the base of the cutout in the door. Following this,



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 the Bianchis’ ice maker fan began to emit loud, jarring noises. These defects are the same as those

 listed in TSB 2015.

        30.     On or about January 28, 2016 Mr. Bianchi made a call for service. A technician

 with Virginia Electronics inspected the ice maker in February of 2016 (the noise had stopped by

 this time) who reported that the fan was frozen shut and that the noise was caused by the fan hitting

 the over-iced ice maker. He then showed Mr. Bianchi how to defrost the ice maker, loosen the ice

 for removal, take out screws, and the technique for removing the ice maker along with its “auger

 motor.” With the ice make and auger motor set aside to defrost, the technician then showed Mr.

 Bianchi how to defrost the ice buildup inside the ice hose/drain using a hair dryer or space heater.

 The technician further reported that the ice maker was defective and un-fixable. The bill for the

 service call was $125.00.

        31.     On April 8, 2016, Mr. Bianchi contacted Samsung via e-mail and informed them

 of the ice-maker failure, water collection in the refrigerator, and requesting a refund. Samsung

 replied by e-mail on April 11, 2016 stating that they had received his correspondence. On April

 21, 2016, Mr. Bianchi again contacted Samsung requesting a response to his previous request and

 Samsung did not respond.

        32.     Despite the defrosting procedure done by the Virginia Electronics technician in

 February of 2016, the Bianchi’s ice maker continued to ice over and not function. Mr. Bianchi

 found further information on-line TSB 2015 for potential fixes. In keeping with what the technician

 advised, and also with these additional recommendations in TSB 2015, Mr. Bianchi continued to

 defrost and dry the ice maker and ice house once every week or two to clear out slush and ice

 overflow buildup.

        33.     In addition, Mr. Bianchi sealed the ice floor room and liner with epoxy, as advised

 by a technician from “Geek Squad,” in an effort to prevent further leaking from the ice-maker.
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        34.     In February of 2016, the Bianchis’ refrigerator experienced ice water dripping into

 the area below the refrigerator deli trays/crispers. On April 24, 2016, after finding a blog online

 that addressed the leaking. Mr. Bianchi ordered a field repair kit from Sears at a cost of $43.87 and

 when it arrived, attempted to make the field kit repairs. See blog repair recommendations at

 http://www.theinvisibleblog.com/2016/08/fixing-samsung-ice-maker.html; website last visited on

 February 17, 2017. During the twelve weeks from the initial water leaks under until repair, the

 collected water required daily, and sometimes twice daily, water cleanup.

        35.     On April 26, 2016, Mr. Bianchi also ordered a new ice maker— the same model of

 slide-in ice maker as the one originally installed. The replacement ice maker was purchased at

 Sears and cost $141.94. Below are two photographs of the replacement ice maker. Mr. Bianchi

 installed the replacement ice maker once it arrived. The ice maker continued to have the same

 problems, which continue to this day.

        36.     Below are photos of the replaced ice maker.




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        37.     In November of 2016, after even more research on how to fix the new ice maker,

 Mr. Bianchi ordered and replaced the main circuit board. The new part was ordered from

 AppliancePartPros.com in Louisville, Kentucky at a cost of $124.02. The new circuit board did

 not resolve any of the problems identified herein or otherwise.

        38.     The ice maker continues to require hair-dryer heating to remove the ice maker and

 auger motor and manual defrosting of ice buildup every one to two weeks. The process requires

 defrosting and removing the ice maker and auger motor, defrosting the ice build-up in ice house,

 and defrosting the refrigerator for approximately 25 minutes, an operation takes two to three hours.

 In approximately December of 2016, the Bianchis turned off their ice maker and started purchasing

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 10-pound bags of ice for home use rather than continue with expenditures and labor in a futile

 effort to repair their defective ice maker.

         39.    Eager to have the ice maker working again, in approximately April of 2017, Ronald

 Bianchi turned the Bianchi ice maker back on and the icing over problem continued. He tried

 adding insulation above ice house fan, around the coil and the icing over continues, even with the

 ice maker on. Mr. Bianchi is continuing to do the “disassemble-and-defrost-the-ice-maker-

 procedure” every two weeks. As a result of the continual defrosting with a hair dryer, plastic has

 conformed to the ice house walls and part of the fan and auger motor assembly have been damaged

 by dimpling and melting.

 Madeline Marino and Richard Bishop

         40.    On May 19, 2015, Madeline Marino and Richard Bishop, who reside in Bonita

 Springs, Florida, purchased a new Samsung French Door Refrigerator with an external built-in ice

 maker from online Home Depot in Bonita Springs, Florida at a purchase price of $2,965.03. The

 model    number     of   the   refrigerator   is   RF30HBEDBSR/AA      and   serial   number    is

 O6P43BFC000069A. This model refrigerator is one listed in TSB 2014, though neither Ms.

 Marino nor Mr. Bishop were made aware of that by Samsung or anyone on Samsung’s behalf.

 Below is a photograph of the Plaintiffs’ Class Refrigerator.




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        41.     Ms. Marino and Mr. .Bishop were in the market for a new and bigger refrigerator

 when remodeling their home. They had previously purchased two Samsung refrigerators and had

 been satisfied with them. After searching online at features and options of Samsung refrigerators,

 they chose a Samsung model that promoted features that they were looking for, including the ease

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 of accessing ice and water from outside door of the refrigerator. Below is a screen shot of an

 exemplar online advertisement that includes Samsung’s product overview, including the ice

 maker, for Ms. Marino’s and Mr. Bishop’s Class Refrigerator.




 Marino & Bishop Class Refrigerator.



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 See http://www.searsoutlet.com/d/product_details.jsp?pid=132442&mode=seeAll&sid=IDx2011

 0411x000008&scid=scplp31751223&sc_intid=31751223&gclid=Cj0KEQjw9r7JBRCj37PlltTsk

 aMBEiQAKTzTfByKqw999lV8qegX5T54pV9vqTN74iwAcwyWFZZBsyEaAoEO8P8HAQ;

 website last accessed on May 31, 2017.

        42.     In January of 2017, the ice maker began producing and leaking water rather than

 producing ice. In addition, there was ice buildup in the ice maker and slushy ice. Ms. Marino

 contacted Samsung, but because the refrigerator was out of warranty, she was told by Samsung

 that any service would be at her expense. Ms. Marino enlisted a refrigerator technician with First

 Rate Appliance Repair & Installation to inspect and service the ice maker. On January 28, 2017,

 the technician diagnosed the defect as an air gap issue in the ice cavity and problems identified in

 TSB 2015 and TSB 2014. The technician defrosted the ice maker cavity, replaced the auger motor

 and fan assembly, and added epoxy to try to fix the air gap. Plaintiffs paid $414.42 for that service.

 Below is a photograph of Plaintiffs’ ice-over Ice Maker.




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        43.    Within one week, the same problems returned and continue to this day. Ms. Marino

 contacted Samsung requesting reimbursement for the repairs and for replacement costs of the

 refrigerator since the Defects were the subject of Samsung technical service bulletins. She was

 told by the Samsung customer service representative that he/she had no such knowledge of any



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 technical service bulletins. Samsung declined to reimburse Ms. Marino and Mr. Bishop for the

 failed repairs made to the Ice Maker or for replacement costs of their Class Refrigerator.

 Marie Castelo and Francisco Castelo

        44.     On or about April 22, 2015, Marie Castelo and spouse Francisco Castelo, who

 reside in Mission Viejo, Orange County, California purchased a Samsung French Door

 Refrigerator from Pacific Sales Kitchen & Home/Best Buy located in a Best Buy retailer in

 Mission Viejo, California at a purchase price of $1.998.98. The model number is

 RF28HFEDBSR/AA and serial number is 065K43BG300668R. Below is a photograph of the

 Castelo refrigerator with the external ice maker.




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          45.   The Castelos needed a new refrigerator because theirs was no longer working.

 They started looking into refrigerators by researching online, where they found the Samsung model

 they ended up purchasing. The Castelos were excited about the easy-access door ice maker feature

 which they had not had before. In addition, they spent a great deal of time discussing with the

 sales people at Pacific Sales Kitchen & Home/Best Buy what were the most reliable and highly-

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 promoted refrigerators, and their Samsung model came highly recommended. The sales people

 further extolled Samsung’s great reputation, but the Castelos were never told, nor did they see in

 their online search, any indication of a technical service bulletin for the external ice makers that

 had already been issued by Samsung in August of 2014. See Exhibit 2. Below is a screen shot of

 an exemplar online advertisement that includes Samsung’s product overview, including the Ice

 Maker, for the Castelos’ Class Refrigerator.




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               .

 Castelo Class Refrigerator.




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 See http://www.sears.com/samsung-28-cu-ft-french-door-refrigerator-stainless-steel/p-04682093

 000P?sellerId=SEARS&prdNo=1&blockNo=1&blockType=G1&sid=isx20140327xnonbrand&s

 id=isx20140327xdsa&psid=601x23115&knshCrid=195316583679&k_clickID=df3b548a-a72a-

 4522-bfb2-68f0dfef8914&gclid=Cj0KEQjw9r7JBRCj37PlltTskaMBEiQAKTzTfOvspjc

 PHDuWZaqsjyxkErInJh6Q4hpxAkfq8-9zyWEaAiXx8P8HAQ; website last accessed on May 29,

 2017.

         46.     In August of 2016, not long after the one-year limited warranty expired, the

 Castelos’ ice maker began icing over and producing ice until the ice maker would freeze up. Ms.

 Castelo searched online forums and found that many consumers of Samsung refrigerators were

 having the same ice maker issues. Based on advice found in one of these forums, the Castelos

 tried unplugging and defrosting their refrigerator for 48 hours and re-setting the ice maker. Neither

 of those efforts worked, and the Castelos were left emptying the ice maker every evening and

 turning it off regularly

         47.     In January, 2017, Ms. Castelo contacted Samsung about the over-icing problem.

 The Castelos had three different service visits set through Samsung, which required that Marie

 Castelo be home all day for the first two of those visits, and Francisco Castelo missed work to be

 home for the third visit. Service Quick, Inc. provided the technician services. The repairs included

 removing and defrosting the auger motor and ice maker, installing silicone into the ice maker

 cavity, and replacing the ice maker. The January 10, 2017 service cost the Castelos $150.00.

 There was no charge for the second visit, where the technician diagnosed that a replacement ice

 maker was needed. The ice maker was replaced during the third technician visit on January 19,

 2017, at a cost to the Castelos of $171.00. The Castelos were never notified by Samsung or anyone

 on Samsung’s behalf that their French Door Refrigerator model was identified in TSB 2015.

 John Mahoney and Laura Mahoney
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        48.     On December 27, 2015, John Mahoney and spouse Laura Mahoney, who reside in

 Oak Ridge, Passaic County, New Jersey, purchased a Samsung French Door Refrigerator from the

 Best Buy retailer in Rockaway, New Jersey at a purchase price of $3,422.92. Their refrigerator

 was delivered and installed on January 18, 2016. The model number is RF23HSESBSR/AA and

 serial number is 06QE43BGA00023B. Unbeknownst to the Mahoneys, their model refrigerator

 was listed in TSB 2015.

        49.     Although the Mahoneys already owned a refrigerator, they were looking for an

 additional one to add to their kitchen so that they could move the current one elsewhere in their

 home. The Mahoneys also had specific counter space requirements and were looking for a high-

 quality unit. They also wanted to be able to access ice from a refrigerator door-mounted area. In

 addition, they were looking for an ice maker that produced a sufficient amount of ice because they

 used ice on a regular basis, as did their two teenage children. The Mahoneys visited a number of

 retailers to look at models and talk with sales people, including the Best Buy stores in Riverdale

 and Rockaway, New Jersey, the Lowe’s in Butler, New Jersey, and P.C. Richard & Son in

 Ledgewood, New Jersey. They also did their own online research for refrigerators which met their

 needs. In addition to the Class Refrigerator model the Mahoneys ultimately purchased, they

 investigated models made by KitchenAid and by LG Electronics. They chose the Samsung

 because the exterior door-mounted ice maker purportedly could produce up to 10 pounds of ice

 and store 4.2 pounds, but the Ice Maker never lived up to that Samsung claim. Below is a screen

 shot of an exemplar online advertisement of Samsung’s product overview, including the Ice

 Maker, which is similar or identical to the advertisement the Mahoneys reviewed in making their

 decision to purchase their particular model Class Refrigerator.




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 Mahoney Class Refrigerator.

 See     http://www.sears.com/samsung-22.5-cu-ft-counter-depth-french-door/p-04682063000P?

 sid=isx20140327xdsa&psid=601x23115&knshCrid=195316583679&k_clickID=df3b548a-a72a-

 4522-bfb2-68f0dfef8914&gclid=Cj0KEQjw9r7JBRCj37PlltTskaMBEiQAKTzTfHMzf5kQ
                                         26
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 HcfYz3DI8csvtktMgnpeWlTaQMROJUJ7MaAgjF8P8HAQ; website last accessed on May 30,

 2017.

         50.    In November, 2016 toward the end of the one-year limited warranty, the Mahoney’s

 ice maker began to freeze up, ice over, and fail to work. John Mahoney believed that perhaps the

 refrigerator door had been left open, so he unplugged the Class Refrigerator, and defrosted it for

 24 hours.

         51.    During the first week of January, 2017, after the refrigerator warranty had expired,

 the ice maker once again froze up and failed to work. Mr. Mahoney contacted Samsung and a

 representative told him to use a hair dryer to defrost the ice maker, and to press the re-set button

 in the ice house. Below is a photo of Plaintiff’s iced-over Ice Maker.

         52.    Immediately after this January, 2017 incident, however, the icing-over issue

 recurred. Mr. Mahoney again contacted Samsung about the problem. Samsung rescheduled the

 service visits on three separate occasions. Mr. Mahoney had multiple calls with Samsung in

 January and February to try to have a Samsung-certified technician fix the Ice Maker. On May

 19, 2017, a Samsung technician with NISI came to the Mahoney home, diagnosed the icing-over

 issue, and replaced the slide-in ice maker. The Mahoneys paid $327.50 for this service. Below is

 a photo of the Samsung/NISI Repair Invoice.




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        53.     The Mahoney’s Ice Maker icing-over problem began in November, 2016 within the

 Samsung one-year warranty period for parts and labor and for repairs to manufacturing defects in

 materials and workmanship. See Mahoney Refrigerator Warranty attached at Exhibit 5. Although

 their refrigerator was not delivered and installed until January 18, 2016, their warranty period was

 deemed by Samsung to have ended on December 31, 2016.

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       54.   Below are photographs of the Mahoney’s Class Refrigerator and the iced-over Ice

 Maker compartment.




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 Ron and Patricia Cecconi

        55.    On August 6, 2012, Ron Cecconi and spouse Patricia Cecconi, residents of Chadd,

 Pennsylvania, purchased a new Samsung French Door refrigerator with an external built-in door

 ice maker at HH Gregg in Wilmington, Delaware for $1,800.            The model number is

 RF263BEAESR and the serial number is JKJ44BBC700807E. This model is identified in TSB

 2015. Below is a photograph of the Cecconi’s Class Refrigerator.




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        56.     Before making this purchase, Mr. Cecconi did exhaustive online research about

 quality ratings and options on refrigerators. He found high ratings for this Samsung model, and it

 satisfied the Cecconi’s desire to be able access water and ice from the refrigerator door, which at

 the time, seemed like a smart new feature. Below is a screen shot of an exemplar online



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 advertisement with Samsung’s product overview, including the ice maker, for the Cecconi’s Class

 Refrigerator.




 Cecconis’ Class Refrigerator.

 See     http://www.bestbuy.com/site/samsung-24-6-cu-ft-french-door-refrigerator-with-thru-the-
 door-ice-and-water-stainless-steel/4980442.p?skuId=4980442; website last accessed on May 31,
 2017.

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        57.     In April, 2017, the fan in the refrigerator ice house began making loud noises

 because it was hitting chunks of ice that had formed inside. Concurrently, the temperature in the

 refrigerator would not drop below about 48 degrees. Mr. Cecconi found on the internet suggested

 solutions, including removal of the ice maker and auger motor from the refrigerator, and then

 defrosting the unit. He did not feel qualified to do that, so he called Samsung, which sent a

 technician to their home that month. The technician defrosted the refrigerator, including the Ice

 Maker, with a steamer, found error codes, and replaced sensors in the refrigerator. The Cecconis

 paid $352.50 for this service. In May, the over-icing recurred and the temperature in the

 refrigerator again rose. Mr. Cecconi again contacted Samsung and on May 19, 2017, a Samsung

 technician came to the home, again defrosted the refrigerator - including the Ice Maker - with a

 steamer and replaced one of the sensors that had just been replaced. The technician said that a

 new control board was needed for the Ice Maker at a cost of $109.00, and scheduled a May 31,

 2017 installation. When the technician arrived on May 31, 2017, he found no error codes and did

 not install the control board.

 Eda Kauffman and James Rosengarten

        58.     On August 29, 2014, Eda Kauffman and her husband James Rosengarten, who

 reside in Philadelphia, Pennsylvania, purchased a new Samsung French Door with an external-

 door Ice Maker from Best Buy in Plymouth Meeting, Pennsylvania for $2,249.99. The model

 number is RF23HTEDBSR/AA and the serial number is 073943BF600012Y. The refrigerator was

 shipped to Kauffman/Rosengarten from Korea and was not installed until January 2, 2015. The

 model of this Class Refrigerator is identified in TSB 2015. Below is a photograph of the

 Kauffman/Rosengarten Class Refrigerator.




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        59.    Prior to their purchase, Ms. Kaufman and Mr. Rosengarten had planned to renovate

 their kitchen and had researched online for new appliances, looking for recommendations of

 quality and extra features. They spent a day in the Best Buy in Plymouth Meeting, Pennsylvania,

 pouring over their options, finally choosing the Samsung model at issue because of

 recommendations about Samsung quality and the easy-access in-door Ice Maker and water

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 dispenser. Below is a screen shot of an exemplar advertisement listing the features on the

 Kauffman/Rosengarten Class Refrigerator, including “An external, Ice Blue Digital Display

 [which] allows you to easily control settings at the touch of a button, and you can fill pitcher-size

 container with water and ice.”




 Kauffman and Rosengarten Class Refrigerator.

 See https://www.ajmadison.com/cgi-bin/ajmadison/RF23HTEDBSR.html; website last accessed

 on May 30, 2017.

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        60.    In 2015, while the Kauffman/Rosengarten Class Refrigerator was still under the

 manufacturer’s one-year limited warranty, the ice maker iced over, stopped working, and the water

 dispenser line froze up. A technician with Geek Squad came to the home to service the unit. The

 repairs and/or parts used at that time were covered by the Samsung warranty.

        61.    In April, 2017, the Ice Maker again iced up and was unusable. On April 24, 2017,

 a technician with Geek Squad inspected the unit and described the problem as follows: “Fridge

 has frozen maker and ice room, needs auger motor, ice maker and IM room sealed… “Found the

 Ice Room full of snow. Est. to replace Auger and Ice Maker $550. approved.” The technician

 removed the slide-in Ice Master Ice Maker and turned off the ice maker. Replacement of the auger

 motor and ice maker is scheduled on July 21, 2017. Since their Ice Maker failed, Ms. Kauffman

 and Mr. Rosengarten have been buying 10-pound bags of ice for home use approximately every

 two weeks. Below are photos of Ms. Kauffman’s and Mr. Rosengarten’s over-iced Ice Maker and

 the broken Ice Maker.




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                                       FACTUAL ALLEGATIONS

        62.     Samsung is one of the world’s leading manufacturers, designers, and marketers of

 refrigerators and other appliances.



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         63.     Upon information and belief, Samsung has worked to earn a reputation for selling

 premium products, both through its marketing efforts and by manufacturing consistently high

 quality and versatile goods. Consequently, consumers are frequently willing to pay more for

 Samsung products than for the products offered by competitors, even when those products have

 similar features. Consumers have come to expect that Samsung-branded products will be of

 particularly high quality, durability, and reliability.

         64.     Among Samsung’s products are the high-end French Door refrigerators with

 external dispenser built-in ice makers, including the Class Refrigerators. The Class Refrigerators

 are sold through major retail stores such as Best Buy and Home Depot at premium prices in the

 range of $1,000 to $4,000.

         65.     The National Association of Home Builders reported in a 2007 study, conducted

 with Bank of America Home Equity, that the life expectancy of a refrigerator is 13 years. In the

 Appliance Market Research Report from June 2011 called “U.S. Appliance Industry: Market

 Value, Life Expectancy & Replacement Picture 2011”, the UBM Canon Company—a global

 provider of media and information services for the manufacturing industries—concludes that the

 low to high life expectancy of a standard refrigerator is 10-16 years. The Plaintiffs’ Class

 Refrigerator only lasted 15 months until it developed an unfixable defect in the ice maker.

           66.   Samsung was fully aware of the Defects covered in TSB 2014 and TSB 2015,

 documents which would have taken significant time and resources to develop prior to their

 issuance respectively on August 18, 2015 and July 17, 2015. Samsung has long known that the

 TSB 2014 and TSB 2015 “fixes” are not effective given repeated consumer complaints and

 Plaintiffs’ own experiences the Defects and of their multiple failed attempts at repair. Rather

 than disclose the Defects and repair them, or replace the Class Refrigerators, or recall the Class

 Refrigerators as Samsung should have, Samsung made a conscious decision to ignore the
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 problem at the expense of its customers. Despite Samsung’s significant and exclusive

 knowledge of the Defects, it fraudulently concealed the Defects and prevented reasonable

 consumers from discovering them until such time as the Defects manifested to the individual

 owners.

        67.       Before placing its Class Refrigerators into the stream of commerce, Samsung had

 actual knowledge that they contained the Defects and created an unreasonable risk of property

 damage and product failure.

            68.   Upon information and belief, Samsung should have been aware of these defects due

 to the number of requests for warranty service detailing the same defects suffered by Plaintiffs.

 The Samsung Authorized Service Centers and Global Service Partnership Network (“GSPN”)

 Service Center maintains detailed records of the complaints, model and serial numbers, and details

 of the work performed on the Class Refrigerators in an attempt to correct the problems. In addition,

 upon information and belief, Samsung utilizes “Service Bench” online software to track warranty

 claims, which provides Samsung with the ability to mine data for strategic information about its

 products and the nature of repair claims. Consequently, Samsung should have been aware of the

 large number of similar, repeat complaints received regarding specific Class Refrigerators and

 their external dispenser ice makers and the failure over and over again of attempted repairs of the

 Defects.

            69.   Samsung’s actions related to designing, testing, manufacturing, selling,

 distributing, and warranting the Class Refrigerators have caused Plaintiffs and other putative Class

 Members to suffer property loss, financial harm, loss of use, and other damages.

            70.   In addition, Samsung made its external door ice makers a featured selling point in

 its marketing. Below are examples of statements Samsung has made about its Ice Makers in the

 Class Refrigerators.
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         ♦External Filtered Water and Ice Dispenser
         Samsung's external ice and water dispenser provides filtered water and ice without
         sacrificing your interior space.
 See https://www.ajmadison.com/cgi-bin/ajmadison/RF26VABWP.html; website last accessed on

 May 29, 2017.

         ♦Ice Master
         Use up to 10 lbs. of crushed or cubed ice per day, and grab a drink from the
         external filtered water and ice dispenser. The ice maker sits in a small corner of
         the fridge, leaving plenty of room for all your groceries.


 See      http://www.bestbuy.com/site/samsung-24-6-cu-ft-french-door-refrigerator-with-thru-the-

 door-ice-and-water-stainless-steel/4980442.p?skuId=4980442; website last accessed on May 29,

 2017.


         ♦Fresh Water Front and Center
         Fill up water bottles, pitchers and other containers with fresh, pure water using the
         external ice and water dispenser. A tall opening allows you to easily fill pitchers
         and tall bottles. The interior Ice Master ice maker can produce up to 10 lbs. and
         store 4.2 lbs. of ice per day, perfect for household use and summer barbeques.


 See http://www.sears.com/samsung-22.5-cu-ft-counter-depth-french-door/p-

 04682063000P?sid=isx20140327xdsa&psid=601x23115&knshCrid=195316583679&k_clickID

 =58549011-d97a-40d2-be08-490c94518c2b&gclid=CKm83YXQmtQCFVG4wAodvmwK6Q;

 website last accessed on May 30, 2017.

         71.     In choosing to purchase their respective Class Refrigerators, all Plaintiffs relied on

 Samsung’s representations in its product descriptions about the easy accessibility of the ice maker

 and water dispenser and the stated daily ice-making storage and capacity for their respective Class

 Refrigerators. Plaintiffs relied to their detriment on Samsung’s representations because all of their

 Ice Makers failed at least once and were unusable. Plaintiffs’ experiences and the reports of other

 consumers demonstrate that the Class Refrigerators’ Ice Makers will require repairs more than
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 occasionally and on an ongoing basis within the reasonable expected lifetime for a refrigerator, or

 the Ice Makers are not repairable at all.

        72.     The following is a representative sampling of consumer complaints regarding the

 Defects in external dispenser ice makers in Samsung French door refrigerators that pre-date 2014.

 •Rajiv of Pearland, TX on Oct. 31, 2011
                                                                                   Satisfaction Rating
 My Samsung French door refrigerator Rf267AERS started making fan noise and frost build up
 exactly one year after I purchased. So, it won’t be covered under warranty. I called the customer
 service, who were glad to forward me the service company phone number and made sure I
 realized I will have to pay the bills. I wish I have read these complaints before spending over
 $2,000 for a high end refrigerator that will need services right after the one year warranty period.

 Helpful?YesNo
 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=63; website last
 visited on February 14, 2017.


 •Doug of Orinda, CA on Sept. 14, 2012
                                                                                    Satisfaction Rating
 We purchased a Samsung (Mod RF267AB) French door refrigerator, and within 18 months, we
 had issues with water pooling in the pan under the deli pullout drawer. Since we had an extended
 warranty through Lowe's, we had it "fixed". Since that time, the same problem has been "fixed"
 two more times with no success. (Each visit has been a different repair guy, so no commonality
 there.) The last time, the technician also adjusted the level and tilted the fridge back saying that
 may help it drain! Starting yesterday, the upper cooling fan has begun growling. I need to call
 Lowe's service to get them out again, and of course, it’s also not draining again. When we
 originally researched the unit, we consulted the leading consumer products reporting magazine's
 article on refrigerators at the time where it was a top rated model along with the GE model we
 looked at, which apparently was the same one manufactured by Samsung for GE. I'm very
 disappointed by this experience and also by the ratings assigned by the consumer magazine.


 Helpful?YesNo
 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=58

 •Jean of Pueblo West, CO on Oct. 22, 2012
                                                                                Satisfaction Rating
 We purchased this Samsung French Door Refrigerator RF26VABWP in July of 2009 because we
 thought it was a superior product. Wrong! It was fine until March of this year and then to the
 tune of $200 we had to have the repairman defrost the fan, etc. because it was so noisy. And then
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 I discovered the water was leaking inside the refrigerator under the crisper trays. We thought the
 problem was solved until May of this year when we discovered ice forming under the crisper
 trays. Another service call to the tune of $200. And then in July, I discovered a repeat of the
 same problem. Previously when I called Samsung, I was told that if it happened again, they
 would do something.

 After 10 calls and faxing information twice, I was told that nothing could be done and that
 refrigerators only lasted 5 to 9 years anyway. I doubt they would want to pay $200 every three
 months to keep their refrigerator running properly and I also doubt that they replace their own
 refrigerator that often. Every time you call, you have to give the model number, your name and
 phone number and then be referred to the executive customer service and repeat the same
 information. Usually there isn't a supervisor that you can talk to and so you have to call back
 again and go through the entire thing again. My opinion is that if you have to do this enough
 times, you finally give up and go away! What a poor recommendation for a company so well
 known!

 Helpful?YesNo
 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=58

 •Carrie of Branchville, SC on Dec. 11, 2012
                                                                                       Satisfaction Rating
 After paying for months for a new refrigerator, which was over $2,500, which is a lot of money
 to me, after about a year, it started making a noise. I called Samsung for them to tell me that a
 service tech would come out, but that was not covered under warranty and I did not buy the
 extended warranty. Well, after I spent that much money, I didn't think I needed to spend
 additional amount for an extended warranty. Was I wrong? Another $300 for some 18-year-old
 kid to just switch out a motor. Here we are 11 months later with the same problem, mainly
 because the first technician didn't fix it right the first time. It constantly freezes up, and water is
 under the vegetables bins. What a lemon. People, do your homework and never buy a Samsung
 refrigerator! This one had the ice and water on the outside and the French doors. I was really
 upgrading, and I had to make payments. Samsung couldn’t care less!

 Helpful?YesNo
 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=57


 •Ed of Vista, CA on Dec. 24, 2012
                                                                                 Satisfaction Rating
 I bought a new fridge five days ago, with a lower freezer, model RF4287HARS. It was plugged
 in by the delivery tech and set to specific settings. The same day, water began to build in the
 vegetable bin. We cleaned it and shortly afterwards, moisture was building up. Samsung is lame
 at acknowledging fault and the extended warranty is quick to remind me that the manufacturer
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 warranty is in effect. I will drop this pretty, but lame product made by Samsung, in the store
 today.

 Helpful?YesNo
 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=57

 •Roger of Mechanicsburg, PA on Feb. 17, 2013
                                                                                   Satisfaction Rating
 I have the Samsung RF267AEBP purchased from Sears ($2,100+) 01/02/2011. Shortly after the
 basic 1-year warranty ran out, the unit began routinely freezing up due to the "known" failure of
 the defrost cycle and/or heating coils and sensors malfunctioning. When the ice builds up over
 time, it locks up the fan motor from the glacier of ice (sounds horrible like a screech owl). Like
 others on this post and all over the Internet, I have to force the RF267AEBP into a manual
 defrost; when the ice melts, it fills the space under the Deli/Crisper drawer with water.

 The first time this happened, we did not realize that the ice could not drain normally due to a
 defective drain (Note: The defrost water drain has been reported to be too short to drain properly
 after the refrigerator goes through a defrost cycle). So, after turning the unit back on, the backed
 up water that pools under the Deli/Crisper drawer freezes into a solid two feet by one inch sheet
 of ice! Not knowing what was going on, we could not get the Deli/Crisper opened without
 pulling very hard on it and that brought the entire sheet of ice out and onto the kitchen floor,
 creating one big dangerous mess!

 Now, the ice maker is making loud clicking and banging sounds, and the ice maker has
 malfunctioned too with inconsistent delivery of odd sized ice cubes (more like chunks of ice) and
 it, too, now freezes up. We have regularly replaced the filter (@ $30+ each) that does basically
 nothing but filter water for the ice maker and the water dispenser. This has been the most
 frustrating and expensive major appliance ownership experience I have ever had with a major
 appliance in over 40+ years of home ownership.

 Samsung, you should provide us customers that have suffered through the purchase and repair of
 this "known" defective refrigerator full refunds for these "known" manufacturer defective
 refrigerators and/or provide a totally brand new replacement of equal value regardless of the
 customer’s choice. This is an expensive major appliance and we should not be having these
 problems that are clearly a quality control problem of widespread proportions. If I am not
 contacted by your warranty and customer relations department with a satisfactory resolution, I
 will be forced to sign on to the class action suit and add my model to the long and growing list of
 models already posted on the website. I will also have my day in small claims court for not just
 the cost of the defective refrigerator, but also for the spoiled food cost of replacement, labor and
 repair cost, and my lost work/wages due to having to take off work to deal with the overall
 malfunctioning of your Samsung RF267AEBP.

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 By the way, my paperwork from Samsung that came with my refrigerator clearly states, "Your
 Satisfaction is Samsung's # 1 Priority - Do not return to store." Well, Samsung, here is your
 opportunity to step up and simply do the right thing, especially since you are on record claiming
 that my satisfaction is Samsung's #1 priority.

 Helpful?YesNo
 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=56


 •Debra of Corpus Christi, TX on June 7, 2014
                                                                                Satisfaction Rating
 Samsung rf267 series - I purchased a 3000 dollar piece of junk. It work fine for a year and then
 hell broke loose. Water started to build up under the crisper and stop making ice, water leaking in
 ice maker. I spend hundreds of dollars to repair it and still doing the same thing. I will never
 purchase anything with the Samsung name on it.

 https://www.consumeraffairs.com/homeowners/samsung_refrigerator.html?page=45


 •Samsung French Door Refrigerator is NO GOOD

 mmogimoto
  Subscribe9
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 More
                                                                                         33,661 views
 60 12
 Published on Apr 3, 2013
 We notified Samsung about the "through-the-door" ice maker failure months ago with no
 resolution (the original ice make was replaced within the first month of operation). I cannot believe
 we have to use a hair dryer to defrost the damn ice maker. I may post a sign in the front yard asking
 for a thief to steal it (including money for gas). We are done with Samsung.....kinda rhymes doesn't
 it.........?? If you have a Facebook page, please post as a "DISLIKE SAMSUNG"........

 https://www.youtube.com/watch?v=U9CMXNHarqgl; website last visited on February 16, 2017.


 •Samsung French Door Refrigerator Problems



 Appliance Princess
  Subscribe3,420
 Add to
 Share

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 More
                                                                                                                                                45,814 views
 Published on Dec 19, 2013
         “I          want         to       know               about             Samsung               french             door        refrigerator           problems.

 Well, you sound like you want to know what sorts of things cause problems with this brand of refrigerators.

 Yes,          you          are          brilliant.                I         think             that            is             what        I          just       said.

 OK, I think I could shed some light on this matter for you. There have been several consumers reporting Samsung
 French                           door                             refrigerator                         problems.

 Oh                                                please,                                                          do                                           tell.

 It seems like by far the most problems associated with Samsung french door refrigerators have to do with the ice
 maker. Many consumer complaints regard the ice maker along with a whole host of other complaints.

 Some of the complaints regard the ice maker dispensing water slowly, and also the ice maker not functioning as
 required. These are some of the most common complaints in regard to Samsung refrigerators.

 That is fairly disheartening. Are these refrigerator problems commonplace, or are they a rarity?

 Unfortunately these problems are all too common with Samsung french door refrigerators. They tend to have lots of
 freezer                                                                                                problems.

 In addition even though the language of the owner’s manual say that the refrigerators are warrantied for six months,
 when customers call Samsung they are told that the parts are only under warranty for 30 days.

 That is outrageous when you consider that the refrigerators generally cost a thousand dollars, or close to it!

 I    would        agree    with       that.       I     think         you      may       want        to    consider            another       refrigerator     brand.

 Well,   I     am thankful that                I       have    a       friend     like     you,        to   keep          me     from     making        a    mistake.

 You     are       welcome,       and     by       the        way,      if   you         are    so      inclined          I     could     use    a     few     bucks.

 I'll see what I can do, Samsung refrigerator guru. Sometimes good advice is worth paying for.”



 https://www.youtube.com/watch?v=kIGltraiAwY; website last visited on February 4, 2017.


             73.       Attached as Exhibit 4 is a further representative sampling of consumer complaints

 regarding Class Refrigerators and the Defects that post-date 2013.




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                               CLASS ACTION ALLEGATIONS

        74.     Plaintiffs bring this action both individually and as a class action pursuant to Fed.

R. Civ. P. 23(a), 23(b)(2), and 23(b)(3) against Samsung on behalf of themselves and a National

Class and for the states of Virginia, Florida, California, New Jersey, and Pennsylvania (collectively

the “Class” or the “Classes”) as defined below.

        National Class:

        During the fullest period allowed by law, all persons in the United States who

        purchased or otherwise acquired a Samsung designed and/or manufactured

        refrigerator with an external dispenser built-in ice maker for personal, family, or

        household purposes having the Defects and who have incurred property damage

        and/or loss of use and/or loss of the benefit of the bargain as a result of the Defects.

        Virginia Class

        During the fullest period allowed by law, all persons in the United States who

        purchased or otherwise acquired in the Commonwealth of Virginia a Samsung

        designed and/or manufactured refrigerator with an external dispenser built-in ice

        maker primarily for personal, family, or household purposes having the Defects and

        who have incurred property damage and/or loss of use and/or loss of the benefit of

        the bargain as a result of the Defects.

        Florida Class

        During the fullest period allowed by law, all persons in the United States who

        purchased or otherwise acquired in the State of Florida a Samsung designed and/or

        manufactured refrigerator with an external dispenser built-in ice maker primarily

        for personal, family, or household purposes having the Defects and who have



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      incurred property damage and/or loss of use and/or loss of the benefit of the bargain

      as a result of the Defects.

      California Class

      During the fullest period allowed by law, all persons in the United States who

      purchased or otherwise acquired in the State of California a Samsung designed

      and/or manufactured refrigerator with an external dispenser built-in ice maker

      primarily for personal, family, or household purposes having the Defects and who

      have incurred property damage and/or loss of use and/or loss of the benefit of the

      bargain as a result of the Defects.

      New Jersey Class

      During the fullest period allowed by law, all persons in the United States who

      purchased or otherwise acquired in the State of New Jersey a Samsung designed

      and/or manufactured refrigerator with an external dispenser built-in ice maker

      primarily for personal, family, or household purposes having the Defects and who

      have incurred property damage and/or loss of use and/or loss of the benefit of the

      bargain as a result of the Defects.

      Pennsylvania Class

      During the fullest period allowed by law, all persons in the United States who

      purchased or otherwise acquired in the State of Pennsylvania a Samsung designed

      and/or manufactured refrigerator with an external dispenser built-in ice maker

      primarily for personal, family, or household purposes having the Defects and who

      have incurred property damage and/or loss of use and/or loss of the benefit of the

      bargain as a result of the Defects.



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        75.     Excluded from the proposed Classes are: (a) any Judge or Magistrate presiding

 over this action and members of their families; (b) Samsung and any entity in which Samsung has

 a controlling interest, or which has a controlling interest in Samsung; (c) the officers and directors

 of Samsung; (d) Samsung’s legal representatives, assigns, and successors; and (e) all persons who

 properly execute and file a timely request for exclusion from the Classes.

        76.     Numerosity:      While the exact number of the class members cannot yet be

 determined, the Classes consist, at a minimum, of thousands of people throughout the United States

 and Virginia, such that joinder of all members (the “Class Members”) is impracticable. The exact

 number of Class Members can readily be determined by a review of information maintained by

 Samsung.

        77.     Commonality: Common questions of law and fact exist as to all of the Class

 Members. Among the common questions of law and fact are:

                a.      Whether Samsung’s Class Refrigerators were defectively designed,
                        manufactured, marketed, distributed, and sold;

                b.      When Samsung first became aware or should have become aware that its
                        Class Refrigerators were defectively designed and/or manufactured;

                c.      Whether the existence of the Defects in the Class Refrigerators is a material
                        fact that reasonable purchasers would have considered in deciding whether
                        to purchase a refrigerator;

                d.      Whether Samsung knowingly concealed the defective nature of the Class
                        Refrigerators;

                e.      Whether Samsung intended that consumers be misled;

                f.      Whether Samsung intended that consumers rely on its non-disclosure of the
                        Defects in the Class Refrigerators;

                g.      Whether Samsung misrepresented the durability and usefulness of the Class
                        Refrigerators;




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            h.    Whether, by the misconduct set forth herein, Samsung violated consumer
                  protection statutes and/or false advertising statutes and/or state deceptive
                  business practice statutes;

            i.    Whether the Class Refrigerators are of merchantable quality;

            j.    Whether, by the misconduct set forth herein, Samsung violated express and
                  implied warranty statutes;

            k.    Whether Samsung’s false and misleading statements of material facts
                  regarding the Class Refrigerators were likely to deceive the public;

            l.    Whether consumers have suffered an ascertainable loss;

            m.    The nature and extent of damages and other remedies entitled to the Class;

            n.    Whether the Class Refrigerators designed and manufactured by Samsung
                  pose any material defect;

            o.    Whether Samsung knew, or should have known, that the Class Refrigerators
                  contained the Defects when it placed the refrigerators with the Defects into
                  the stream of commerce;

            p.    Whether Samsung concealed the Defects from consumers;

            q.    Whether the Class Refrigerators are likely to fail before the end of their
                  reasonable expected lives;

            r.    Whether Samsung breached warranties relating to Samsung Class
                  Refrigerators by failing to recall, replace, repair, and/or correct the Defects;

            s.    Whether Samsung breached implied warranties of merchantability relating
                  to the Class Refrigerators;

            t.    Whether Samsung mispresented the characteristics, qualities, and
                  capabilities of the Class Refrigerators;

            u.    Whether Samsung omitted, concealed from and/or failed to disclose in its
                  communications and disclosures to Plaintiffs and Class Members material
                  information regarding the Defects;

            v.    Whether Samsung failed to warn consumers regarding the Defects in its
                  Class Refrigerators;

            w.    Whether Samsung made fraudulent, false, deceptive, misleading, and/or
                  otherwise unfair and deceptive statements in connection with the sale of the
                  Class Refrigerators in its refrigerator literature and on its website, including
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                       those relating to standards, use, and reliability and otherwise engaged in
                       unfair and deceptive trade practices pertaining to the refrigerators;

                x.     Whether Samsung was unjustly enriched as a result of selling the Class
                       Refrigerators;

                y.     Whether Samsung should be ordered to disgorge all or part of its profits it
                       received from the sale of the Class Refrigerators;

                z.     Whether Plaintiffs and Class Members are entitled to damages including
                       compensatory, exemplary, and statutory damages and the amount of such
                       damages;

                aa.    Whether Plaintiffs and Class Members are entitled to repair and/or
                       replacement of their respective Class Refrigerators;

                bb.    Whether Plaintiffs and Class Members are entitled to equitable relief,
                       including an injunction requiring Samsung to engage in a recall of the Class
                       Refrigerators; and

                cc.    Whether Plaintiffs and Class Members are entitled to an award of
                       reasonable attorneys’ fees, pre-judgment interest, post-judgment interest,
                       and costs.


        78.     Typicality: Plaintiffs have substantially the same interest in this matter as all other

 proposed Class Members and their claims arise out of the same set of facts and conduct as all other

 Class Members. Plaintiffs and all Class Members own or owned a Class Refrigerator designed

 and/or manufactured by Samsung with the uniform Defects that make the refrigerators defective

 upon purchase and causes them to fail within their expected useful lives. All of the claims of

 Plaintiffs and Class Members arise out of Samsung’s placement into the marketplace of

 refrigerators with ice makers that Samsung knew were defective and caused property damage and

 other losses to consumers and from Samsung’s failure to disclose the Defects. Also common to

 Plaintiffs’ and Class Members’ claims is Samsung’s conduct in designing, manufacturing,

 marketing, advertising, warranting, and/or selling the Class Refrigerators, Samsung’s conduct in

 concealing the Defects, and Plaintiffs’ and Class Members’ purchase of the Class Refrigerators.

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         79.     Adequacy of Representation: Plaintiffs are committed to pursuing this action and

 have retained competent counsel experienced in products’ liability, deceptive trade practices, and

 class action litigation. Accordingly, Plaintiffs and their counsel will fairly and adequately protect

 the interests of Class Members. Plaintiffs’ claims are coincident with, and not antagonistic to,

 those of the other Class Members they seek to represent. Plaintiffs have no disabling conflicts

 with Class Members and will fairly and adequately represent the interests of Class Members.

         80.     The elements of Rule 23(b)(2) are met. Samsung will continue to commit the

 violations alleged and the Class Members and the general public will continue to remain at an

 unreasonable and serious property and other damages risk as a result of the Defects. Samsung has

 refused to act on grounds that apply generally to Class Members so that final injunctive relief and

 corresponding declaratory relief is appropriate respecting the Classes as a whole.

         81.     The elements of Rule 23(b)(3) are met. Here, the common questions of law and

 fact enumerated above predominate over the questions affecting only the individual Class

 Members and a class action is the superior method for fair and efficient adjudication of the

 controversy. Although many other Class Members have claims against Samsung, the likelihood

 that individual Class Members will prosecute separate actions is remote due to the time and

 expense necessary to conduct such litigation. Serial adjudication in numerous venues is not

 efficient, timely, or proper. Judicial resources would be unnecessarily depleted by prosecution of

 individual claims. Joinder on an individual basis of thousands of claimants in one suit would be

 impracticable or impossible. Individualized rulings and judgments could result in inconsistent

 relief for similarly-situated plaintiffs. Plaintiffs’ counsel, highly experienced in class action

 litigation, foresee little difficulty in the management of this case as a class action.




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               TOLLING AND ESTOPPEL OF STATUTES OF LIMITATIONS

         82.    The claims alleged herein accrued upon discovery of the defective nature of the

 Class Refrigerators. Because the Defects alleged herein were not disclosed by Samsung and

 because Samsung took steps to either conceal or fail to disclose the true character, nature, and

 quality of the Class Refrigerators, Plaintiffs and Class Members did not discover and could not

 have reasonably discovered the Defects through reasonable and diligent investigation.

         83.    Any applicable statutes of limitations have been tolled by Samsung’s knowledge

 and actual misrepresentations and/or concealment and denial of the facts as alleged herein, which

 concealment is ongoing. Plaintiffs and Class Members could not have reasonably discovered the

 true defective nature of their Class Refrigerators until such time as the Defects manifested by

 failing in the ways described herein. As a result of Samsung’s active concealment of the Defects

 and/or failure to inform Plaintiffs and Class Members of the Defects, any and all statutes of

 limitations otherwise applicable to the allegations herein have been tolled.

         84.    Alternatively, the facts alleged above give rise to estoppel. Samsung has actively

 concealed the defective nature of the Class Refrigerators. Samsung was and is under a continuous

 duty to disclose to Plaintiffs and Class Members the true character, quality, and nature of the Class

 Refrigerators and particularly that they posed a severe risk of property and other damages. At all

 relevant times and continuing to this day, Samsung knowingly, affirmatively, and actively

 misrepresented and concealed the true character, quality, and nature of the Class Refrigerators.

 Given Samsung’s failure to disclose this non-public information about the defective nature of the

 Class Refrigerators—information over which it had exclusive control—and because Plaintiffs and

 Class Members could not reasonably have known that the Class Refrigerators were thereby

 defective, Plaintiffs and Class Members reasonably relied on Samsung’s affirmative and/or



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 ongoing concealment. Based on the foregoing, Samsung is estopped from prevailing on any statute

 of limitations defense in this action.

         85.    Additionally, Samsung is estopped from raising any defense of laches due to its

 own unclean hands as alleged herein.

                                      CLAIMS FOR RELIEF

                                    COUNT I
                              UNJUST ENRICHMENT
         (PLAINITFFS INDIVIDUALLY AND ON BEHALF OF THE NATIONAL CLASS
           AND, ALTERNATIVELY, THEIR RESPECTIVE STATE CLASSES)

        86.     Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        87.     As described above, Samsung sold Class Refrigerators to Plaintiffs and Class

 Members even though those refrigerators and their Ice Makers were defective. Samsung failed to

 disclose the Defects at the point of sale or otherwise.

        88.     Samsung unjustly charges Plaintiffs and Class Members for repairs and/or

 replacement of the defective Class Refrigerators without disclosing that the Defects are widespread

 and repairs do not address the root causes of the Defects.

        89.     Samsung unjustly refuses to repair or recall the Class Refrigerators in spite of the

 Defects that it has long known about and, instead, has (at most) made suggestions in TSB 2015

 and TSB 2014 Lovfor consumers to repair the Defects at their own cost and by their own hand

 even when Samsung knows that their suggested “fixes” are totally ineffective.

        90.     As a result of its acts and omissions related to the Defects, Samsung obtained

 monies that rightfully belong to Plaintiffs and Class Members.

        91.     Samsung appreciated, accepted, and retained the non-gratuitous benefits conferred

 by Plaintiffs and Class Members who, without the knowledge of the Defects, paid a higher price

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 for their Class Refrigerators than those refrigerators were worth. Samsung also received monies

 for those refrigerators that Plaintiffs and Class Members would not have otherwise purchased.

        92.     Samsung’s retention of these wrongfully-acquired profits violates fundamental

 principles of justice, equity, and good conscience.

        93.     Plaintiffs and Class Members seek restitution from Samsung and an order

 proportionally disgorging all profits, benefits, and compensation obtained by Samsung from its

 wrongful conduct, and establishment of a constructive trust from which Plaintiffs and Class

 Members may seek restitution.

                                                 COUNT II

                            BREACH OF IMPLIED WARRANTY
              (PLAINTIFFS INDIVIDUALLY AND ON BEHALF OF THE NATIONAL
                                    CLASS)

        94.     Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        95.     The implied warranty of merchantability included with the sale of each Class

 Refrigerator means that Samsung warranted that the Class Refrigerators including their ice makers

 would be merchantable, fit for their ordinary purposes for which refrigerators with built-in ice

 makers are used, pass without objection in the trade, be of fair and average quality, and conform

 to promises and affirmations of fact made on the container and label. This implied warranty of

 merchantability is part of the basis for the benefit of the bargain between Samsung and Plaintiffs

 and Class Members.

        96.     At the time of delivery, however, Samsung breached the implied warranty of

 merchantability because its Class Refrigerators were defective as alleged herein, would not pass

 without objection, were not fit for normal use in a residential setting, and failed to conform to the

 standard of like products in the trade.
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        97.     Within a reasonable amount of time after the Defects manifested in Plaintiffs’ and

 Class Members’ Class Refrigerators, Samsung received notice of its breach of implied warranty

 by virtue of its knowledge of the Defects. Samsung knew or, in the exercise of reasonable care,

 should have known that the Class Refrigerators were defective prior to sale of these refrigerators

 to Plaintiffs and Class Members.

        98.     Any implied warranty limitation cannot be enforced here because it is

 unconscionable. A substantial disparity in the parties’ relative bargaining power existed such that

 Plaintiffs and Class Members were unable to derive a substantial benefit from their warranties. A

 disparity existed because Samsung was aware that its Class Refrigerators were inherently

 defective; Plaintiffs and the Class had no notice or ability to detect the problem; Samsung knew

 that Plaintiffs and the Class had no notice or ability to detect the problem; and Samsung knew that

 Plaintiffs and Class Members would bear the cost of correcting any defect. In this case, the

 disparity was increased by Samsung’s knowledge that failure to disclose that the Defects would

 substantially limit the Class Refrigerator’s use and could cause it to fail altogether.

        99.     The element of privity, if applicable here, exists because Samsung had direct

 written communications with Plaintiffs and Class Members regarding their Class Refrigerators in

 the form or warranty forms, manuals, registration cards, communications regarding defect failures,

 or similar documents. Samsung advertised the Class Refrigerators via direct communications with

 Plaintiffs and Class Members through television, internet, and magazine advertisements and the

 like. The dealers who sold the Class Refrigerators to Plaintiffs and Class Members are Samsung’s

 agents. Samsung entered into contracts with Plaintiffs and Class Members through warranties,

 including extended warranties; and Plaintiffs and Class Members are third-party beneficiaries of

 warranties that ran from Samsung to their dealer-agents.           Further, Samsung designed and



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 manufactured the Class Refrigerators, intending Plaintiffs and Class Members to be the ultimate

 users of these appliances.

        100.    As a direct and proximate result of Samsung’s breach of its implied warranties,

 Plaintiffs and Class Members purchased defective products which could not be used for their

 intended use in, among other things, accessing ice from their Class Refrigerators in a residential

 setting, and thus have been damaged. Plaintiffs and Class Members seek damages in an amount

 to be determined at trial.

                                                 COUNT III

                         INJUNCTIVE AND DECLARATORY RELIEF
               (PLAINTIFFS INDIVIDUALLY AND ON BEHALF OF THE NATIONAL
                                     CLASS)

        101.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        102.    There is a controversy between Samsung and Plaintiffs and other Class Members

 concerning the existence of the Defects in the Class Refrigerators.

        103.    Pursuant to 28 U.S.C. § 2201, this Court may “declare the rights and legal relations

 of any interested party seeking such declaration, whether or not further relief is or could be sought.”

        104.    Accordingly, Plaintiffs and Class Members seek a declaration that these Class

 Refrigerators have a common defect(s) in their design/manufacture.

        105.    Additionally, Plaintiffs and Class Members seek a declaration that this common

 defect poses a serious risk to consumers and the public.

        106.    Samsung designed, manufactured, produced, tested, inspected, marketed,

 distributed, and sold refrigerators with built-in ice makers which contain material defects as

 described herein. Based upon information and belief, Samsung continues to design, manufacture,



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 produce, test, inspect, market, distribute, and sell refrigerators with built-in ice makers which

 contain the serious defects as described herein.

        107.    Based upon information and belief, Samsung has taken no corrective action

 concerning the Defects described herein. While Samsung issued the TSB 2014 and TSB 2015,

 those technical service bulletins were not sent to consumers (at least not to the Plaintiffs). The

 bulletins had to be located by Plaintiffs, if they discovered them at all, on the internet and the

 recommended solutions failed to correct the Defects. Further, all defect repairs suggested in

 Samsung’s bulletins were to be paid for and handled by the consumers. Samsung has failed to

 issue a recall or institute any action to remedy the Defects. In fact, the replacement ice makers

 that many Plaintiffs purchased on their own for their Class Refrigerator are the same as the original

 ice maker and the replacements failed to alleviate any of the damages described herein.

        108.    Plaintiffs and the Class have suffered actual damages related to the Defects

 described herein. Samsung should be required to take corrective action to prevent further failures

 caused by the Defects including (a) summoning a nationwide recall of the Class Refrigerators, (b)

 issuing warnings and/or notices to the consumer and the Classes concerning the Defects, and (c)

 immediately discontinuing the manufacture, production, marketing, distribution, and sale of the

 defective Class Refrigerators described in this Complaint.

                                                COUNT IV

                         STRICT LIABILITY – DESIGN DEFECT
         (PLAINTIFFS INDIVIDUALLY AND ON BEHALF OF THE NATIONAL CLASS
           AND, ALTERNATIVELY, THEIR RESPECTIVE STATE CLASSES)

        109.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        110.    Samsung is engaged in the business of designing, manufacturing, distributing,

 advertising, marketing, promoting, and/or selling kitchen essentials and appliances and did design,
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 manufacture, distribute, advertise, market, promote, and/or sell the Class Refrigerators described

 herein.

           111.   Samsung’s Class Refrigerators were expected to and did reach Plaintiffs and Class

 Members without substantial change in the condition in which they were manufactured, sold, and

 distributed.

           112.   The Class Refrigerators were in a defective condition when they left Samsung’s

 possession or control in that, under normal conditions, usage, and applications, they could not

 withstand the use for which they were intended.

           113.   Plaintiffs and Class Members used the Class Refrigerators in a manner reasonably

 intended by Samsung.

           114.   The Class Refrigerators are defective because they are not fit for ordinary and

 intended use;     Samsung failed to provide Plaintiffs and Class Members, either directly or

 indirectly, with adequate and sufficient warnings regarding the known and foreseeable failure risks

 inherent in and related to the ice makers; the Class Refrigerators contained material design defects

 and were not reasonably fit for their intended use due to such defects; the design, methods of

 manufacture and testing of the Class Refrigerators did not conform to generally-recognized and

 prevailing standards or state of the art in existence at the time the design was made and when the

 Class Refrigerators were manufactured; and at the time the Class Refrigerators left Samsung’s

 control, the foreseeable risks associated with their design exceeded the benefits associated with

 the design.

           115.   Plaintiffs and Class Members have suffered property damage and other incidental

 and consequential damages as a direct and proximate result of the Defects.

           116.   Samsung acted with malice, oppression and/or fraud, and in conscious and flagrant

 disregard to the rights of their consumers by manufacturing and selling the Class Refrigerators
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 known to be defective. As alleged, Samsung knew or should have known that the Defects would

 cause their refrigerators’ ice makers to fail and to damage other property. Samsung knew or was

 repeatedly informed of the serious defects, yet failed to take any remedial action and instead

 continued to sell these defective products. Given Samsung’s conscious disregard for the rights of

 the public, Plaintiffs and Class Members seek exemplary or punitive damages.

                                                   COUNT V

                             FRAUDULENT CONCEALMENT
            (PLAINTIFFS INDIVIDUALLY AND, ALTERNATIVELY ON BEHALF OF
                       THEIR RESPECTIVE STATE CLASSES)

         117.       Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

         118.       Samsung concealed material facts from Plaintiffs, Class Members, and the public

 generally. Samsung knew that its Class Refrigerators contained the Defects and concealed those

 facts such that consumers had no such knowledge.

         119.       Samsung had a duty to disclose the Defects to Plaintiffs and Class Members, but it

 failed to do so.

         120.       Samsung also knew that Plaintiffs and Class Members had no knowledge that the

 Class Refrigerators were defective and that they—the consumers of the Class Refrigerators— did

 not have an equal opportunity to discover those facts. Samsung was in a superior position than

 Plaintiffs and Class Members.

         121.       Plaintiffs and Class Members would not have purchased their Class Refrigerators

 had they known that the refrigerators were defective or Plaintiffs and Class Members would not

 have paid as much as they did. Samsung benefited from the sales of the Class Refrigerators as a

 result of its nondisclosure.



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        122.    When Class Members experienced problems with their Class Refrigerators and

 contacted Samsung to make warranty claims, they were often ignored. For other Class Members,

 Samsung routinely charged them a fee to inspect the ice makers or otherwise determined—without

 inspection—that it would not cover the cost of repair or replacement. Alternatively, Samsung

 failed to honor its warranties with Plaintiffs and Class Members concerning the Defects because it

 did not offer consumers who experienced failures with their external dispenser built-in-door ice

 makers the necessary repair or replacement costs.

        123.    As a direct and proximate result of Samsung’s conduct, Plaintiffs and Class

 Members have suffered damages.

        124.    Samsung’s conduct was knowing, intentional, malicious, demonstrated a complete

 lack of care, and was carried out in reckless disregard of the rights of Plaintiffs and Class Members

 such that punitive damages are appropriate.

                                                COUNT VI

                        STRICT LIABILITY – FAILURE TO WARN
           (PLAINITFFS RONALD BIANCHI AND DEBRA BIANCHI INDIVIDUALLY
                    AND ON BEHALF OF THE VIRGINIA CLASS)

        125.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        126.    The Class Refrigerators were designed, manufactured, and sold by Samsung in the

 regular course of business and were expected to reach Plaintiffs and Class Members without

 substantial change in the condition in which they were manufactured, sold, or distributed.

        127.    The Class Refrigerators were in a defective condition when they left Samsung’s

 possession or control because under normal conditions, usage, and applications, they would

 withstand the use for which they were intended, including but not limited to the fact that the ice

 makers would fail.
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        128.      Samsung had no reason to believe that consumers of its Class Refrigerators would

 be aware of the foreseeable harm/failure associated with the refrigerators’ use.

        129.      Prior to and after selling the Class Refrigerators to Plaintiffs and Class Members,

 Samsung had a legal duty to warn about the Defects in these appliances and the problems the

 Defects posed.

        130.      Prior to and after distributing the Class Refrigerators to Plaintiffs and Class

 Members, Samsung and their agents who sold or serviced the refrigerators failed to warn Plaintiffs

 and Class Members of the Defects.

        131.      As a direct and proximate result of Samsung’s failure to warn of the defective

 condition and design of the Class Refrigerators, Plaintiffs and Class Members suffered property

 damage and other incidental and consequential damages.

        132.      Samsung acted with malice, oppression and/or fraud, and in conscious and flagrant

 disregard to the rights of their consumers by manufacturing and selling refrigerators with built-in

 ice makers known to be defective. As alleged, Samsung knew or should have known that the

 Defects would cause the Class Refrigerators to fail and could damage other property. Samsung

 knew or was repeatedly informed of the serious defects, yet failed to take any remedial action and

 instead continued to sell these defective products. Given Samsung’s conscious disregard for the

 rights of the public, Plaintiffs and Class Members seek exemplary or punitive damages.

                                                COUNT VII

              VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION ACT
                           VA. CODE ANN. §§ 59.1-196, et seq.
           (PLAINTIFFS RONALD BIANCHI AND DEBRA BIANCHI INDIVIDUALLY
                    AND ON BEHALF OF THE VIRGINIA CLASS)

        133.      Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

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        134.      Samsung, Plaintiffs, and Class Members are “persons” within the meaning of Va.

 Code § 59.1-198.

        135.      Samsung is a “supplier” within the meaning of Va. Code § 59.1-198.

        136.      The Virginia Consumer Protection Act (“Virginia CPA”) makes unlawful

 “fraudulent acts or practices”. Va. Code § 59.1-200(A).

        137.      In the course of Samsung’s business, it intentionally or negligently concealed and

 suppressed material facts concerning the existence of the Defects in the Class Refrigerators.

        138.      Samsung violated the Virginia CPA, at a minimum, by: (1) misrepresenting the

 source, sponsorship, approval, or certification of goods or services; (2) misrepresenting that goods

 or services have certain qualities, characteristics, ingredients, uses, or benefits; (3) misrepresenting

 that goods or services are of a particular standard, quality, grade, style, or model; (4) advertising

 goods or services with intent not to sell them as advertised; and (5) using any other deception,

 fraud, false pretense, false promise, or misrepresentation with a consumer transaction. Va. Code

 § 59.1-200(A).

        139.      Samsung engaged in misleading, false, unfair, or deceptive acts or practices that

  violated the Virginia CPA by installing defective ice makers and other refrigerator/freezer

  components in the Class Refrigerators and by failing to disclose and/or actively concealing the

  Defects.

        140.      Samsung intentionally and knowingly misrepresented material facts regarding

  Class Refrigerators with intent to mislead Plaintiffs and the Class Members.

        141.      Samsung compounded the deception by putting out technical service bulletins (TSB

  2015) that put the onus of repairs on Plaintiffs and Class Members for the Defects that existed at

  the time of manufacture and distribution.

        142.      Samsung knew or should have known that its conduct violated the Virginia CPA.
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        143.    Plaintiffs and Class Members suffered ascertainable loss and actual damages as a

 direct and proximate result of Samsung’s misrepresentations and its concealment of and failure to

 disclose material information. Plaintiffs and Class Members who purchased and/or leased the

 Class Refrigerators would not have purchased them at all and/or—if the Class Refrigerators’ true

 nature had been disclosed and mitigated—would have paid significantly less for them. Plaintiffs

 and Class Members also suffered diminished value of their Class Refrigerators as well as lost or

 diminished use.

        144.    Samsung had an ongoing duty to all Samsung customers to refrain from unfair and

 deceptive practices under the Virginia CPA in the course of its business.

        145.    Samsung’s violations present a continuing risk to Plaintiffs as well as the general

 public. Samsung’s unlawful acts and practices complained of herein affect the public interest.

        146.    Pursuant to Va. Code § 59.1-204(A)-(B), Plaintiffs and the Class Members are

 entitled to the greater of actual damages or $500 for each Virginia class member, attorneys’ fees,

 and costs. Because Samsung’s actions were willful, Plaintiffs and the Class Members should each

 receive the greater of treble damages or $1,000. Id.



                                               COUNT VIII

                 VIOLATIONS OF VIRGINIA’S IMPLIED WARRANTY OF
                             MERCHANTABILITY
                               VA. CODE §§ 8.2A-212
           (PLAINTIFFS RONALD BIANCHI AND DEBRA BIANCHI, INDVIDUALLY
                    AND ON BEHALF OF THE VIRGINIA CLASS)

        147.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.




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         148.       Samsung is and was at all relevant times a “merchant” with respect to home

 appliances including Class Refrigerators under Va. Code § 8.2-104(1) and 8.2A-103(1(t) and a

 “seller” of home appliances including Class Refrigerators under § 8.2-103(1(d).

         149.       With respect to leases, Samsung is and was at all relevant times a “lessor” of home

 appliances including Class Refrigerators under Va. Code § 8.2A-103(1)(p).

         150.       The Class Refrigerators are and were at all times “goods” within the meaning of

 Va. Code §§ 8.2-105(1) and 8.2A-103(1)(h).

         151.       A warranty that the Class Refrigerators were in merchantable condition and fit for

 the ordinary purpose for which refrigerator/freezers with built-in ice makers are used is implied by

 law pursuant to Va. Code §§ 8.2-314 and 8.2A-212.

         152.       The Class Refrigerators, when sold or leased and at all time thereafter, were not in

 merchantable condition and not fit for the ordinary purpose for which refrigerator/freezers with

 built-in ice makers are used. Specifically, the Class Refrigerators are inherently defective and

 were not adequately designed, manufactured, and tested.

         153.       Samsung was provided notice of the Defects through individual complaints filed

 by consumers against them directly or via their authorized agents.

         154.       As a direct and proximate result of Samsung’s breach of the implied warranty of

 merchantability, Plaintiffs and the other Class Members have been damaged in an amount to be

 proven at trial.

                                                COUNT IX

  VIOLATONS OF FLORIDA’S UNFAIR AND DECEPTIVE TRADE PRACTICES ACT
                        FLA. STAT § 501.201, et seq.
  (PLAINTIFFS MADELINE MARINO AND RICHARD BISHOP INDIVIDUALLY AND
                  ON BEHALF OF THE FLORIDA CLASS)




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        155.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        156.    Plaintiffs are “consumers” within the meaning of the Florida Unfair and Deceptive

 Trade Practices Act (“FUDTPA”), Fla. Stat. § 501.203(7).

        157.    Samsung is engaged in “trade or commerce” within the meaning of Fla. Stat. §

 501.203.8.

        158.    FUDTPA prohibits “[u]unfair methods of competition, unconscionable acts or

 practices in the conduct of any trade or commerce. . .” Fla. Stat. § 501.204(1). Samsung

 participated in unfair and deceptive trade practices that violate the FUDTPA as described herein.

        159.    For the reasons discussed herein, Samsung violated and continues to violate

 FDUPTA by engaging in the herein described unconscionable, deceptive, and unfair acts and

 practices proscribed by Fla. Stat. § 501.201, et seq. Samsung’s affirmative misrepresentations,

 omissions, and practices as described were likely to and did, in fact, deceive and mislead members

 of the public, including consumers acting reasonably under the circumstances, to their detriment.

        160.    Samsung’s actions constitute unconscionable, deceptive, or unfair acts or practices.

 Samsung misrepresented and omitted material facts regarding the Ice Makers in the Class

 Refrigerators by failing to disclose the known Defects and engaging in immoral, unethical,

 oppressive, and unscrupulous activates that are substantially damaged consumers, in violation of

 the FUDTPA.

        161.    Specifically, Samsung engaged in the following deceptive and misleading conduct

 in violation of the FUDTPA.

        a.      Samsung manufactured, distributed, and sold Class Refrigerators that it knew

                contained the defective Ice Makers that would fail prematurely under normal use.

                The Defects interfered with Plaintiffs’ and Florida Class Members’ reasonable
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                expectations concerning the performance of their Ice Makers/Class Refrigerators

                and caused damages to Plaintiffs and Class Members.

        b.      Samsung knew the Defects were unknown to and would not be easily discoverable

                by Plaintiffs and Florida Class Members and would defeat their ordinary,

                foreseeable, and reasonable expectations of their Class Refrigerators.

        c.      Samsung failed to notify Plaintiffs and Florida Class Members that repairs and/or

                replacement of the Ice Makers or Class Refrigerators themselves would cause

                Plaintiffs and Florida Class Members to sustain actual damages, including out-of-

                pocket costs for technician calls, replacement parts, and labor. Plaintiffs and

                Florida Class Members were forced to incur costs associated with technician

                diagnostics and repairs and, even after repairs, continued failure of the Ice Makers.

        162.    Plaintiffs and the Florida Class suffered ascertainable loss and actual damages as

 a direct and proximate result of Samsung’s misrepresentations and their concealment of and

 failure to disclose material information. Plaintiffs and Florida Class Members who purchased or

 leased the Class Refrigerators would not have purchased or leased the refrigerators at all or,

 alternatively, would have paid less for them. Plaintiffs and Florida Class Members also suffered

 diminished value of their Class Refrigerators and lost or diminished use.

        163.    Samsung has an ongoing duty to all Samsung customers to refrain from unfair and

 deceptive practices under the FUDTPA. All owners of Class Refrigerators suffered ascertainable

 loss in the form of the purchase or lease price as well as the diminished value of their Class

 Refrigerators as a result of Samsung’s deceptive and unfair acts and practices.

        164.    As a direct and proximate result of Samsung’s violations of the FUDTPA,

 Plaintiffs and the Florida Class have suffered injury-in-fact and/or actual damages.



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        165.    Plaintiffs and the Florida Class are entitled to recover their actual damages under

 Fla. Stat. § 501.211(2) and attorneys’ fees under Fla. Stat. § 501.2105(1).

        166.    Plaintiffs and the Florida Class also seek an order enjoining Samsung’s unfair,

 unlawful, and/or deceptive practices, declaratory relief, attorneys’ fees, and any other just and

 proper relief available under the FUDTPA.

        167.    Plaintiffs and the Florida Class reserve the right to allege other violations of the

 FUDTPA as Samsung’s conduct is ongoing.

                                                 COUNT X

            VIOLATIONS OF FLORIDA’S BREACH OF IMPLIED WARRANTY OF
                                MERCHANTABILITY
                             F.S.A. §§ 672.314 and 680.212
         (PLAINTIFFS MADELINE MARINO AND RICHARD BISHOP INDIVIDUALLY
                      AND ON BEHALF OF THE FLORIDA CLASS)

        168.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        169.    Samsung is and was at all relevant times “merchant” with respect to home

 appliances including Class Refrigerators under F.SA. §§ 672.104(1) and 680.1031(3)(k), and

 “seller” of home appliances including Class Refrigerators under F.S.A. § 672.103(1)(d).

        170.    With respect to leases, Samsung is and was at all relevant times “lessor” of home

 appliances including Class Refrigerators under F.S.A. § 680.1031(1)(p).

        171.    The Class Refrigerators are and were at all relevant times “goods” within the

 meaning of F.S.A. §§ 672.105(1) and 680.1031(1)(h).

        172.    A warranty that the Class Refrigerators were in merchantable condition and fit for

 the ordinary purpose for which refrigerators with built-in ice makers are used is implied by law

 pursuant to F.S.A. §§ 672.314 and 680.212.



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        173.    These Class Refrigerators, when sold or leased and at all times thereafter, were

 not in merchantable condition and are not fit for the ordinary purpose for which

 refrigerator/freezers with built-in ice makers used.

        174.    Specifically, the Class Refrigerators are inherently defective and were not

 adequately designed, manufactured, and tested.

        175.    Samsung was provided notice of the Defects through individual complaints filed

 by consumers against them directly or via their authorized agents including, but not limited to

 customer service calls, e-mails, and letters and public comments made in the on the internet and

 other media.

        176.    As a direct and proximate result of Samsung’s beach of the implied warranty of

 merchantability, Plaintiffs and the other Florida Class Members have been damaged in an

 amount to be proven at trial.

                                             COUNT XI

           VIOLATION OF THE CONSUMER LEGAL REMEDIES ACT
                    Cal. Bus. & Prof. Code § 17500, et seq.
 (PLAINITFFS MARIE CASTELO AND FRANCISCO CASTELO INDIVIDUALLY AND
                 ON BEHALF OF THE CALFORNIA CLASS)

        177.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        178.    Samsung is “person” under Cal. Civ. Code § 1761(c).

        179.    Plaintiffs and the California Class are “consumers”, as defined by Cal. Civ. Code

 § 1761(d), who purchased or leased one or more Class Refrigerators.

        180.    The California Legal Remedies Act (“CLRA”) prohibits “’unfair or deceptive acts

 or practices undertaken by any person in a transaction intended to result or which results in the

 sale or lease of goods or services to any consumer[.]” Cal. Civ. Code § 1770(a). Samsung has

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 engaged in unfair or deceptive acts or practices that Violated Cal. Civ. Code § 1750, et seq., as

 described above and below by, at a minimum, representing that Class Refrigerators have

 characteristics, uses, benefits, and qualities which they do not have; representing that Class

 Refrigerators are of a particular standard, quality, and grade when they are not; advertising Class

 Refrigerators with the intent not to sell or lease them as advertised; and representing that the

 subject of a transaction involving Class Vehicles had been supplied in accordance with a

 previous representation when it has not.

        181.    Samsung sold Class Refrigerators to Plaintiffs and the California Class even

 though those refrigerators contained the Defects that Samsung has proved it has known about in

 its technical service bulletins TSB 2014 and 2015 and that have proved unrepairable. In addition

 to Samsung having known of the Defects at the point of sale and beyond, it has still had put the

 onus of any attempt at repair and attendant costs upon the Class Refrigerator consumers.

 Samsung never told Plaintiffs or the California Class about the Defects at the point of sale or

 otherwise. Instead, it promoted the Ice Makers as a selling point in the Class Refrigerators.

        182.    Plaintiffs and the California Class suffered ascertainable loss and actual damages

 as a direct and proximate result of Samsung’s misrepresentations and its concealment of and

 failure to disclose material information. Plaintiffs and the California Class Members who

 purchased or leased the Class Refrigerators would not have purchased or leased them at all or

 would have paid significantly less for them. Plaintiffs and the California Class also suffered

 diminished value of their Class Refrigerators as well as lost or diminished use.

        183.    Samsung had a duty to all its customers to refrain from unfair and deceptive and

 unfair acts and practices made in the course of Samsung’s business.

        184.    As a direct and proximate result of Samsung’s violations of the CLRA, Plaintiffs

 and the California Class have suffered injury-in-fact and/or actual damages.
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        185.    Under Cal. Civ. Code § 1780(a), Plaintiffs and the California Class seek monetary

 relief against Samsung measured in diminution of the value of their vehicles caused by

 Samsung’s violations of the CLRA as alleged herein.

        186.    Under Cal. Civ. Code § 1780(b), Plaintiffs and the California Class seek an

 additional award against Samsung of up to $5,000 for each California Class Member who

 qualifies as a “senior citizen” or “disabled person” under the CLRA. Samsung knew or should

 have known that their conduct was directed to one or more California Class Members who are

 senior citizens or disabled persons. Samsung’s conduct caused one or more of these senior

 citizens or disabled persons to suffer a substantial loss of property set aside for retirement or for

 personal and family care and maintenance, or assets essential to the health or welfare of the

 senior citizen or disabled person. One of more of the California Class Members who are senior

 citizens or disabled persons are substantially more vulnerable to Samsung’s conduct because of

 age, poor health or infirmity, impaired understanding, restricted mobility, or disability, and each

 of them has suffered substantial physical, emotional, or economic damages resulting from

 Samsung’s conduct.

        187.    Plaintiffs and the California Class also seek punitive damages because it carried

 out reprehensible conduct with willful and conscious disregard of the rights and safety of others,

 subjecting Plaintiffs and the California Class to potential cruel and unjust hardship as a result.

 Defendants intentionally and willfully deceived Plaintiffs and the California Class and concealed

 material facts that only Samsung knew. Samsung’s conduct constitutes malice, oppression, and

 fraud warranting punitive damages under Cal.Civ. Code § 3294.

        188.    Plaintiffs and the California Class further seek an order enjoining Samsung’s

 unfair or deceptive acts or practices, restitution, punitive damages, costs of court, attorneys’ fees

 under Cal. Civ. Code § 1780, and any other just and proper relief available under the CLRA.
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        189.     Pursuant to the provisions of the CLRA, Plaintiffs are providing notice of the

 Defects to Samsung and upon expiration of the period described in Cal.Civ. Code § 1782(d),

 Plaintiffs will amend this Complaint to state a claim for damages under the CLRA.

                                                COUNT XII

                VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                              Cal. Bus. & Prof. Code § 17200, et seq.
                   (PLAINTIFFS MARIE CASTELO AND FRANCISCO CASTELO
                 INDIVIDUALLY AND ON BEHALF OF THE CALIFORNIA CLASS)

        190.     Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

though fully set forth herein.

        191.     The California Business and Professions Code § 17200 prohibits any “unlawful,

unfair, or fraudulent business acts or practices.” Samsung has engaged in unlawful, fraudulent,

and unfair business acts and practices in violation of the UCL. In particular, Samsung sold Class

Refrigerators to Plaintiffs and the California Class even though the refrigerators’ Ice Maker

contained Defects and Samsung failed to disclose its knowledge of the Defects at the point of sale

or otherwise.

        192.     Samsung’s acts and practices also constitute fraudulent practices in that they are

likely to deceive a reasonable consumer. As described above, Samsung knowingly concealed that

the Ice Makers in its Class Refrigerators are designed and manufactured to fail well before their

anticipated useful life and Samsung continues to fail to disclose the Defects at the point of sale or

otherwise. Had Samsung disclosed this information, Plaintiffs and the California Class Members

would not have purchased the Class Refrigerators or would have paid significantly less for them.

        193.     Samsung’s conduct also constitutes unfair business practices for at least the

following reasons:




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                a. The gravity of potential harm to Plaintiffs and the California Class Members

                    as a result of Samsung’s acts and practices far outweighs any legitimate utility

                    of Samsung’s conduct;

                b. Samsung’s conduct is immoral, unethical, oppressive, unscrupulous, or

                    potentially injurious to Plaintiffs and the California Class; and

                c. Samsung’s conduct undermines or violates stated policies underlying the

                    UCL—to protect consumers against unfair and sharp business practices and to

                    promote a basic level of honesty and reliability in the marketplace.

        194.     As a direct and proximate result of Samsung’s business practices described

 herein, Plaintiffs and California Class Members suffered a foreseeable injury-in-fact and lost

 money or property because they purchased or paid for Class Refrigerators that, had they known

 of the Defects, they would not have purchased or, in the alternative, they only would have

 purchased for a lower amount.

        195.    Plaintiffs and California Class Members are entitled to equitable relief, including

 an order directing Samsung to disclose the Defects in the Class Refrigerator; to provide

 restitution and disgorgement of all profits paid to Samsung as a result of its unfair, deceptive, and

 fraudulent practices; to pay reasonable attorneys’ fees; and to be permanently enjoined from such

 practices.

                                             COUNT XIII

         VIOLATIONS OF SONG-BEVERLY CONSUMER WARRANTY ACT FOR
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                         Cal. Civ. Code §§ 1791.1 and 1792
      (PLAINITFFS MARIE CASTELO AND FRANCISCO CASTELO INDIVIDUALLY
                  AND ON BEHALF OF THE CALIFORNIA CLASS)

        196.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.
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        197.     Plaintiffs and the other California Class Members who purchased or leased the

 Class Refrigerators are “buyers” within the meaning of Cal. Civ. Code § 1791(b).

        198.     The Class Refrigerators are “consumer goods” within the meaning of Cal. Civ.

 Code § 1791(a).

        199.     Samsung is “manufacturer” within the meaning of Cal. Civ. Code § 1791(j).

        200.     Samsung impliedly warranted to Plaintiffs and the other California Class

 Members that its Class Refrigerators were “merchantable” within the meaning of Cal.Civ.Code

 §§ 1791.1(a) and 1792, however, the Class Refrigerators do not have the quality that a buyer

 would reasonably expect.

        201.     California Civil Code § 1791.1 states:

        “Implied warranty of merchantability or “implied warranty that goods are

 merchantable” means that the consumer goods meet each of the following:

        (1)      Pass without objection in the trade under the contract description.

        (2)      Are fit for the ordinary purposes for which such goods are used.

        (3)      Are adequately contained, packaged, and labeled.

        (4)      Conform to the promises or affirmations of fact made on the container or

        label.

        202.     The Class Refrigerators would not pass without objection in the residential

 appliance trade because they were designed and manufactured with the Defects that cause the

 Class Refrigerators to fail well before the end of their expected useful life.

        203.     Because of the Defects, the Class Refrigerators are not in merchantable condition

 and thus not fit for ordinary purposes.

        204.     The Class Refrigerators are not adequately labeled because the labeling fails to

 disclose the Defects.
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        205.    Samsung breached the implied warranty of merchantability by manufacturing and

 selling Class Refrigerators containing Defects that are directly contrary to Samsung’s marketing

 of the Ice Makers, for instance, making a significant amount of ice daily and offering

 convenience to the consumer by offering additional refrigerator space, when instead the Defects

 render the Ice Maker unusable by creating over-icing and leaking and by failing to work

 altogether. Furthermore, the Defects have caused Plaintiffs and the other California Class

 Members to not receive the benefit of their bargain and have caused the Class Refrigerators to

 depreciate in value.

        206.    As a direct and proximate result of Samsung’s breach of the implied warranty of

 merchantability, Plaintiffs and the California Class Members received goods whose defective

 condition substantially impairs the goods’ value. Plaintiffs and the other California Class

 Members have been damaged as a result of the diminished value of the Class Refrigerators, the

 Class Refrigerators’ malfunctioning, and the non-use of their Class Refrigerators at least with

 regard to the Ice Makers if not the complete refrigerator/freezer unit.

        207.    Pursuant to Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiffs and the other

 California Class Members are entitled to damages and other legal and equitable relief including,

 at their election, the purchase price of their Class Refrigerators or the overpayment for or

 diminution of value of their Class Refrigerators.

        208.    Pursuant to Cal. Civ. Code § 1794, Plaintiffs and the other California Class

 Members are entitled to costs and attorneys’ fees.

                                            COUNT XIV

               VIOLATIONS OF THE NEW JERSEY FRAUD ACT
                         N.J. S. A. §§ 56:8-1 et seq.
 (PLAINTIFFS JOHN MAHONEY AND LAURA MAHONEY INDIVIDUALLY AND ON
                   BEHALF OF THE NEW JERSEY CLASS)

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        209.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        210.    Plaintiff, the New Jersey Class Members, and Samsung are “persons” under the

 New Jersey Fraud Ac, N.J. S.A. § 56:8-1(d).

        211.    Samsung engaged in “sales” of “merchandise” within the meaning of N.J. S.A. §§

 56:8-1(c), (e). Samsung’s actions as set forth herein occurred in the conduct of trade or

 commerce.

        212.    The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

 act, use or employment by any person of any unconscionable commercial practice, deception,

 fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression,

 or omission of any material fact with the intent that others rely upon such concealment,

 suppression or omission, in connection with the sale or advertisement of any merchandise or real

 estate, or with the subsequent performance of such person as aforesaid, whether or not any

 person has in fact been misled, deceived or damaged thereby. . .” N.J. S.A.. § 56:8-2.

        213.    Samsung has long known of the Defects in its Class Refrigerators well before the

 Plaintiffs purchased their Class Refrigerator as evidenced by consumer complaints posted on

 internet forums (examples contained herein and see also Exhibit 4), through its internal reporting

 of claims, and as evidenced by its own acts in issuing technical service bulletins regarding the

 Defects in Class Refrigerators in issued in August 2014 and July 2015, Exhibits 1 and 2,

 attached. Samsung also knows that these Defects have proved to be unfixable and have put the

 onus of the cost and effort of any labor and parts expended in trying to repair the Defects upon

 consumers including Plaintiffs and the New Jersey Class. Samsung concealed and failed to

 disclose these Defects, to date, to Plaintiffs and the other New Jersey Class Members.



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        214.    By advertising, promoting, distributing, supplying, selling and leasing the Class

 Refrigerators when Samsung knew they were defective, Samsung engaged in an unconscionable

 commercial practice, deception, fraud, false pretense, false promise, misrepresentation, or the

 knowing concealment of material facts with the intent that others rely upon in violation of the

 New Jersey CFA. N.J.S.A. § 56:8-1, et seq. Below is an exemplar online advertisement with

 Samsung’s product overview, including the ice maker, that is similar or identical to

 advertisements that the Mahoneys reviewed in making their decision to purchase their particular

 model Class Refrigerator.

        Description Item # 04682063000P Model # RF23HCEDBSR/AA

        Samsung RF23HCEDBSR/AA French Door Refrigerator—Stay Stocked Up
        On Fresh Food

        The Whirlpool RF23HCEDBSR/AA 22.5 cu. ft. Stainless Steel French Door
        Fridge has enough space and flexible storage options so you can keep all of your
        good groceries front, center and fresh. Twin Cooling Plus technology works
        throughout the fridge to maintain ideal temperature and humidity levels, meaning
        longer-lasting produce and less freezer-burn. Adjustable shelving and a full-width
        pantry drawer give you flexible interior food storage, so you can load up the
        fridge with plenty of groceries, leftovers, household staples and snacks. “The tall-
        opening exterior water and ice dispenser makes it easy for you and your family to
        fill up water bottles, glasses and pitchers with fresh, pure water and ice.”
        [emphasis added] Keep fresh food right at your fingertips in the Samsung 22.5 cu.
        ft. French door fridge.

        Load Up the Fridge with Food
        This Samsung French door fridge has an ample 22.5 cu. ft. of interior storage
        space, perfect for stocking up on family staples, stashing snacks, leftovers and
        party trays without needing to cram, stack or stuff the groceries in your fridge.

        Versatile Interior Organization Options
        Full-width storage, 2 crisper drawers and 4 adjustable spill-proof shelves give you
        flexible organization options when it comes time to put food away. The full-width
        CoolSelect Pantry drawer lets you optimize temperature control for deli platters,


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        sheet cake and meats. A flip-up shelf gives you more space up top for tall items,
        like beverage dispensers or tall cakes.

        Gallons of Door Storage
        Adjustable gallon door storage bins and generous condiment storage bins
        accommodate tall and wide items, like wine bottles, juice jugs and jars of pickles,
        so you won’t have to try to cram in your salad dressing collection alongside that
        bottle of wine.

        Keeps Your Food Fresher, Longer
        Twin Cooling Plus works hard to maintain optimal humidity levels throughout the
        fridge and freezer, preventing freezer burn and delaying produce ripening so you
        can have more access to good food throughout the week. The CoolSelect pantry
        allows you to optimize temperatures for your food so you can keep deli items,
        snacks and appetizers perfectly chilled.

        “Fresh Water Front and Center
        Fill up water bottles, pitchers and other containers with fresh, pure water using the
        external ice and water dispenser. A tall opening allows you to easily fill pitchers
        and tall bottles. The interior Ice Master ice maker can produce up to 10 lbs. and
        store 4.2 lbs. of ice per day, perfect for household use and summer barbeques.”
        [emphasis added]

         Added on April 09, 2014
 See http://www.sears.com/samsung-22.5-cu-ft-counter-depth-french-door/p-

 04682063000P?sid=isx20140327xdsa&psid=601x23115&knshCrid=195316583679&k_clickID

 =58549011-d97a-40d2-be08-490c94518c2b&gclid=CKm83YXQmtQCFVG4wAodvmwK6Q;

 website last accessed on May 30, 2017.

        215.    Samsung violated the provisions of the New Jersey CFA, at a minimum by: (1)

 representing that the Class Refrigerators are of a particular standard quality, and grade when they

 are not; (2) failing to disclose information concerning the Class Refrigerators with the intent to

 induce consumers to purchase or lease the Class Refrigerators; and (3) otherwise engaging in

 conduct likely to deceive.




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         216.    Samsung intentionally and knowingly misrepresented material facts regarding the

 Class Refrigerators with the intent to mislead Plaintiffs and the New Jersey Class. Samsung

 knew or should have known that its conduct violated the New Jersey CFA.

         217.    Plaintiffs and New Jersey Class Members suffered ascertainable loss and actual

 damages as result of Samsung’s misrepresentations and its concealment of and failure to disclose

 material information. Plaintiffs and New Jersey Class Members who purchased or leased Class

 Refrigerators would not have purchased or leased them at all and/or –if the Class Refrigerators’

 true nature had been disclosed and mitigated—would have paid significantly less for them.

 Plaintiffs and the New Jersey Class also suffered diminished value of their refrigerators as well

 as lost or diminished use.

         218.    Samsung had and has an ongoing duty to all Samsung customers to refrain from

 unfair and deceptive practices under the New Jersey CFA in the course of its business.

         219.    Samsung’s violations present a continuing violations to Plaintiffs, New Jersey

 Class Members, and the general public. Samsung’s wrongful acts and practices complained of

 herein affect the public interest.

         220.    As the result of the wrongful conduct of Samsung, Plaintiffs and the New Jersey

 Class have been damaged in an amount to be proven at trial and seek all just and proper remedies

 including, but not limited to, actual and statutory damages, treble damages, an order enjoining

 Samsung’s deceptive and unfair conduct, costs, and reasonable attorneys’ fees under N.J. Stat. §

 56:8-19, and all other just and appropriate relief.

                                             COUNT XV

                    BREACH OF EXPRESS WARRANTY
                      N.J.S.A. §§ 12A:2-13 and 2A-210
  (PLAINIFFS JOHN MAHONEY AND LAURA MAHONEY INDIVDUALLY AND ON
                   BEHALF OF THE NEW JERSEY CLASS)

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         221.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

         222.    Samsung is and was at all relevant times a “merchant” with respect to goods

 under N.J.Rev. Stat.. § 12A:2-104(1) and “seller” of goods under N.J.S. A. § 2-103(1)(d).

         223.    With respect to leases, Samsung was and is at all relevant times a “lessor” of

 goods under N.J.S.A. §§ 12A:2A-103(1)(p).

         224.    The Class Refrigerators are and were at all relevant times “goods” within the

 meaning of N.J.S.A. §§ 12:A:2-105(1) and 2A-103(1)(h).

         225.    In connection with the sale of its Class Refrigerators, Samsung provided an

 express limited warranty for parts and labor, at no charge to consumer, for manufacturing defects

 in materials and workmanship encountered during normal non-commercial use of the Class

 Refrigerator and covering a period of one year from date of purchase. The warranty and any

 exclusions in the warranty are contained in Exhibit 5, The Mahoney Refrigerator Warranty, and

 the exclusions are not applicable to the Defects describes in this Complaint.

         226.    Samsung provided all purchasers and lessees of the Class Refrigerators with the

 express warranties described herein, which became part of the basis of the bargain. Accordingly,

 Samsung’s warranties are express warranties under New Jersey Law.

         227.    The parts affected by the Defects include all parts associated with the external-

 door ice maker in the Class Refrigerator and includes, but is not limited to, all materials used in

 the ice cavity, the control board, the auger motor, and the ice maker itself which have a

 propensity to fail.

         228.    Samsung breached these warranties by selling and leasing Class Refrigerators

 with the Defects, requiring repair or replacement within the applicable warranty periods, and

 refusing to honor the warranties with free repairs or replacements during the applicable warranty
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 periods. For instance, when Plaintiff John Mahoney contacted Samsung within his Class

 Refrigerator warranty period about his ice maker not working and over-icing, he was essentially

 ignored several times by being told to “re-set the machine” until the warranty period ran out.

 And any “repairs” that Samsung has provided in the warranty periods have failed to cure the

 Defects. Samsung has failed to conform the Ice Makers in its Class Refrigerators to the express

 warranty. Samsung’s conduct has avoided any attempt to disclaim liability for its actions.

 Plaintiffs first called Samsung about the Defects in their Class Refrigerator immediately

 following the expiration of their the warranty period and the New Jersey Class notified Samsung

 of the breach within a reasonable time or else they were not required to do so because affording

 Samsung an opportunity to cure its breach of written warranty would have been futile. Samsung

 also knew of the Defects and chose to conceal them and fail to comply with its warranty

 obligations.

        229.    Samsung’s attempt to disclaim or limit these express warranties vis-à-vis

 consumers is unconscionable and unenforceable under these circumstances. Samsung’s warranty

 limitation is unenforceable because it knowingly sold a defective product without informing

 consumers about the Defects.

        230.    Samsung’s attempt to limit its express warranty in a manner that would result in

 replacing its defectively designed Ice Makers/Class Refrigerators causes the warranty to fail its

 essential purpose and renders the warranty null and void.

        231.    The time limits contained in Samsung’s warranty period were and are also

 unconscionable and inadequate to protect the New Jersey Class Members. Among other things,

 Plaintiffs and New Jersey Class Members has no meaningful choice in determining these time

 limitations, the terms of which unreasonably favor Samsung. A gross disparity in bargaining

 power exists between Samsung and the New Jersey Class Members and Samsung knew or
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 should have known that the Class Refrigerators were defective at the time of sale or lease and

 would fail well before the end of the refrigerator’s expected useful lives.

        232.    Plaintiffs and the New Jersey Class members have complied with all obligations

 under the warranty or otherwise have been excused from performance of these obligations as a

 result of Samsung’s conduct described herein.

        233.    With regard to Plaintiffs, when their warranty was entered into on January 18,

 2018 (date their Class Refrigerator was delivered), Samsung already has knowledge that its Class

 Refrigerators would fail, generally within or just following the warranty period, thus rendering

 its terms unconscionable. Had Plaintiffs known of the Defects that Samsung was already aware

 of, they would have bargained for a warranty that covered repair of the Defects and/or

 replacement of the Class Refrigerators for an extended period or purchased a totally different

 refrigerator that did not have the Defects.

        234.    As a direct and proximate result of Samsung’s breach, Plaintiffs and the other

 New Jersey Class Members bought or leased Class Refrigerators they otherwise would not have

 bought or purchased, overpaid for their refrigerators, did not receive the benefit of their bargain,

 and their Class Refrigerators suffered a diminution in value if not a total loss of value. Plaintiffs

 and the New Jersey Class have also incurred and will continue to incur cost associated with

 repair of their ice makers and any damage that the ice maker has caused to their property.

        235.    Accordingly, recovery by Plaintiffs and the other New Jersey Class Members is

 not restricted to the limited warranty promising to repair and/or correct a manufacturing defect,

 and Plaintiffs, individually and on behalf of the New Jersey Class, seek all remedies allowed by

 law.

        236.    Plaintiffs and New Jersey Class Members are entitled to legal and equitable relief

 against Samsung, including damages, consequential damages, specific performance, attorneys’
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 fees, costs of suit, and such further relief as the Court may deem proper. Plaintiffs and the other

 New Jersey Class Members have been damaged in an amount to be determined at trial.

                                            COUNT XVI

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                         N.J.S.A. §§ 12:A2-314 and 2A-212
              (PLAINTIFFS JOHN MAHONEY AND LAURA MAHONEY
           INDIVIDUALLY AND ON BEHALF OF THE NEW JERSEY CLASS)

        237.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        238.    Samsung is and was at all relevant times a “merchant” with respect to goods

 under N.J.S.A. § 12A:2-104(1) and “seller” of goods under N.J.S.A. § 2A-103(1)(d).

        239.    With respect to leases, Samsung is and was at all times relevant a “lessor” of good

 under N.J.S.A. § 12A:2-103(1)(p).

        240.    The Class Refrigerators are and were at all times “goods” within the meaning of

 N.J.S.A. § 12:A2-314 and 2A-212.

        241.    These Class Refrigerators when sold or leased and at all times thereafter were not

 in merchantable condition and not fit for the ordinary purposed for which refrigerators with built-

 in ice makers are used. Specifically, the Class Refrigerators were fitted or improperly fitted with

 all parts associated with the external-door Ice Makers in the Class Refrigerator and includes, but

 is not limited to, all materials used in the ice cavity, the control board, the auger motor, and the

 ice maker itself—the ice maker having a propensity to fail and a propensity to require more than

 one repair within the Class Refrigerators’ reasonable useful life expectancy.

        242.    Samsung was and is in actual or constructive privity with Plaintiffs and New

 Jersey Class Members.




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           (a) Plaintiffs and New Jersey Class Members had and continue to have sufficient direct

 dealings with Samsung and/or its authorized dealers, franchisees, representatives, and agents to

 establish any required privity of contract. Samsung’s authorized dealers, franchisees,

 representatives, and agents were not intended to be the ultimate consumers of the Class

 Refrigerators and have no rights under the warranty agreements provided with the Class

 Refrigerators. The warranty agreements were designed for intended to benefit only the ultimate

 purchasers and lessees of the Class Refrigerators, i.e., Plaintiffs and the New Jersey Class

 Members.

           (b) Plaintiffs and the New Jersey Class Members are the intended third-party

 beneficiaries of contracts between Samsung and its dealers, franchisees, representatives, and

 agents.

           (c) By extending express written warranties to end-user purchasers and lessees, Samsung

 brought itself into privity with Plaintiffs and New Jersey Class Members.

           243.   At all relevant times, New Jersey law imposed upon Samsung that the ice makers

 installed in its Class Refrigerators were fit for the ordinary purpose for which ice

 makers/refrigerators are used and that they pass without objection in the trade under the contract

 description.

           244.   Samsung has not validly disclaimed, excluded, or modified the implied warranties

 or duties described above, and any attempted disclaimer or exclusion of the implied warranties

 was and is ineffectual.

           245.   The Class Refrigerators were defective at the time they left Samsung’s

 possession. Samsung knew of the Defects at the time the purchase and lease transactions

 occurred. Thus, the Class Refrigerators, when sold or leased and at all times thereafter, were not



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 in merchantable condition or quality because they are not fit for their ordinary intended purpose

 and they do not pass without objection in the trade under the contract description.

        246.    Samsung failed to inform Plaintiffs and the New Jersey Class of the defective

 condition of the Class Refrigerators. The failure to warn Plaintiffs and Class Members of tis

 defective condition constitutes a further breach by Samsung of the implied warranties of

 merchantability.

        247.    Plaintiffs and the New Jersey Class Members used the ice makers in the Class

 Refrigerators in a manner consistent with their intended use and performed each and every duty

 required under the terms of the warranties, except as may have been excused or prevented by the

 conduct of Samsung or by operation of law in light of Samsung’s unconscionable conduct.

        248.    Samsung had actual knowledge of and received timely notice regarding the

 Defects in this litigation and, notwithstanding such notice, failed and refused to offer an effective

 remedy.

        249.    In addition, Samsung received, on information and belief, numerous consumer

 complaints and other notices from customers advising of the Defects in the Class Refrigerators.

        250.    By virtue of the conduct described herein, Samsung breached the implied

 warranty of merchantability.

        251.    As a direct and proximate result of Samsung’s breach of warranties, Plaintiffs and

 the New Jersey Class suffered economic damages, including loss attributable to the diminished

 value of their Class Refrigerators and other tangible property, as well as the monies spent to try

 and repair the Defects.

        252.    Plaintiffs and the New Jersey Class Members are entitled to legal and equitable

 relief against Samsung, including damages, consequential damages, specific performance,

 attorneys’ fees, costs of suit, and such further relief as this Court may deem proper.
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          253.   As a direct and proximate result of Samsung’s breach of the implied warranty of

 merchantability, Plaintiffs and the other New Jersey Class Members have been damaged in

 amount to be proven at trial.

                                             COUNT XVII

          VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                           CONSUMER PROTECTION LAW
                                73 P.S. § 201-1, et seq.
          (PLAINTIFFS RON AND PATRICIA CECCONI AND EDA KAUFFMAN AND
            JAMES ROSENGARTEN, INDIVIDUALLY, AND ON BEHALF OF THE
                              PENNSYLVANIA CLASS)

          254.   Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

though fully set forth herein.

          255.   Samsung, Plaintiffs, and the Pennsylvania Class are “persons” within the meaning

 of 73 P.S. § 201-2(2).

          256.   Samsung is engaged in “trade” or “commerce” within the meaning of 73 P.S. §

 201-2(3).

          257.   The Pennsylvania Unfair Trade Practices Act (“Pennsylvania UTPA”) prohibits

 “unfair or deceptive acts or practices in the conduct of any trade or commerce . . .” 73 P.S. §

 201-3.

          258.   In the course of Samsung’s business, Samsung intentionally or negligently

 concealed and suppressed material facts concerning the reliability of its Class Refrigerators’ Ice

 Makers. Since Samsung began marketing and selling high-priced refrigerators with external

 refrigerator-door-mounted ice makers, it has promoted the ease of accessing ice and a particular

 daily ice production and storage capacity. These “features” of the Ice Makers are not true

 because of the Defects inherent in their manufacture that cause the Ice Makers to have a

 propensity to break down early and often. In addition, Samsung has never alerted consumers,

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 including Plaintiffs, that the cost and burden of repairs would be upon the consumer. Samsung

 has had many years of consumers reporting the Defects, so much so that Samsung issued

 technical service bulletins in 2014 and 2015 that “advise” on how the Class Refrigerator owner

 should “fix” issues of over-icing that prevents Ice Makers from working and attendant issues

 such as water leaking into the refrigerator. Samsung never provided these bulletins to Plaintiffs.

 Plaintiffs and the Pennsylvania Class Members had no way of discerning that Samsung’s

 representations about the Ice Maker were false and misleading. Samsung is a worldwide leader

 in appliance manufacturing and sales, not the Plaintiffs. Plaintiffs and the Pennsylvania Class

 members did not and could not unravel Samsung’s deception on their own. They learned of it

 from their experiences and then looking online to find a large number of like consumers with the

 same complaints.

        259.    Samsung thus violated the provisions of the Pennsylvania UTPA, at a minimum

 by: (1) representing that the Class Refrigerators have characteristics, uses, benefits, and qualities

 which they do not have; (2) representing that the Class Refrigerators are of a particular standard,

 quality, and grade when they are not; (3) advertising the Class Refrigerators with an intent not to

 sell them as advertised; (4) failing to disclose information concerning the Class Refrigerators

 with the intent to induce consumers to purchase or lease the Class Refrigerators.

        260.    Samsung engaged in misleading, false, unfair, or deceptive acts or practices that

 violate the Pennsylvania UTPA by manufacturing a product it knew had the inherent Defects and

 marketing them and selling them at a premium price with representations about positive

 functionality of the Ice Makers.

        261.    Samsung intentionally and knowingly misrepresented material facts regarding the

 Class Vehicles with the intent to mislead Plaintiffs and the Pennsylvania Class.



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         262.      Samsung knew or should have known that its conduct violated the Pennsylvania

 UTPA.

         263.      Samsung owed Plaintiffs and the other Pennsylvania Class Members a duty to

 truthfully disclose the Defects because they possessed the exclusive knowledge of the extent of

 the Defects—that the Defects can be expected as opposed to occurring randomly or sporadically

 and then hiding that knowledge from consumers including Plaintiffs and the Pennsylvania Class.

         264.      Plaintiffs and the Pennsylvania Class members suffered an ascertainable loss and

 actual damages as a direct and proximate result of Samsung’s misrepresentations and its

 concealment of and failure to disclose material information. Plaintiffs and the Pennsylvania

 Class Members who purchased or leased the Class Refrigerators would not have purchased or

 leased them at all and/or—if the Class Refrigerators’ true nature had been disclosed and

 mitigated—would have paid significantly less for them. Plaintiffs also suffered diminished value

 of their vehicles, as well as lost or diminished use.

         265.      Samsung had an ongoing duty to all Samsung customers to refrain from unfair

 and deceptive practices under the Pennsylvania UTPA in the course of its business.

         266.      Samsung’s violations present a continuing risk to Plaintiffs as well as to the

 general public.

         267.      Pursuant to 73 P.S. § 201-9.2(a), Plaintiffs and the Pennsylvania Class seek an

order enjoining Samsung’s unfair and/or deceptive acts or practices, damages, punitive damages,

and attorneys’ fees, costs, and any other just and proper relief available under the Pennsylvania

UTPA.

                                             COUNT XVIII

      VIOLATIONS OF THE IMPLIED WARRANTY OF MERCHANTABILITY
   PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION
                                LAW
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                   13 Pa. Cons. Stat. §§ 2314 and 2A212, et seq.
  (PLAINTIFFS RON AND PATRICIA CECCONI AND EDA KAUFFMAN AND JAMES
    ROSENGARTEN, INDIVIDUALLY, AND ON BEHALF OF THE PENNSYLVANIA
                                      CLASS)


        268.    Plaintiffs re-allege all preceding paragraphs and incorporate them by reference as

 though fully set forth herein.

        269.    Samsung is and was at all relevant times a “merchant” with respect to appliances

 including refrigerators with built-in ice makers under 13 Pa. Cons. Stat. §§ 2104 and 2A103(a)

 and a “seller” of appliances including refrigerators with built-in ice makers under § 2103(a).

        270.    With respect to leases, Samsung is and was at all relevant times a “lessor” of

 appliances including refrigerators with built-in ice makers under 13 Pa. Cons. Stat. § 2A103(a).

        271.    The Class Refrigerators are and were at all relevant times “goods” within the

 meaning of 13 Pa. Cons. Stat. §§ 2105(a) and 2A103(a).

        272.    A warranty that the Class Refrigerators were in merchantable condition and fit for

 the ordinary purpose for which refrigerators with built-in ice makers are used is implied by law

 pursuant to 13 Pa. Cons. Stat. §§ 2314 and 2A212.

        273.    These Class Refrigerators, when sold or leased and at all times thereafter, were

 not in merchantable condition and are not fit for the ordinary purpose for which refrigerators

 with built-in ice makers are used. Specifically, the Class Refrigerators are inherently defective in

 that they fail well before their expected reasonable useful lives and these breakdowns occur

 frequently or permanently and the Ice Makers/Class Refrigerators were not adequately designed,

 manufactured, and tested.

        274.    Samsung was provided notice of these issues through customer complaints made

 directly to them, Plaintiffs’ reporting of the Defects to them, and all other measures of auditing



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 that Samsung has done with respect to monitoring other sources for consumer complaints.

 Samsung created TSB 2014 and TSB 2015 because of the large number of consumer complaints.

        275.    As a direct and proximate result of Samsung’s breach of the implied warranty of

 merchantability, Plaintiffs and other Pennsylvania Class Members have been damaged in an

 amount to be proven at trial.

                                     PRAYER FOR RELIEF

        Wherefore, Plaintiffs request that the Court enter a judgment awarding the following relief:

                A.     An order certifying the proposed National Class, Virginia Class; Florida

                       Class, California Class, New Jersey Class, and Pennsylvania Class.

                B.     An order awarding Plaintiffs and Class Members their actual damages,

                       punitive damages, and/or any other monetary relief provided by law;

                C.     An order awarding Plaintiffs and Class Members restitution, disgorgement,

                       or other equitable relief as the Court deems proper;

                D.     An order requiring Samsung to adequately disclose and repair or replace the

                       defective Class Refrigerators;

                E.     An order (a) issuing a nationwide recall of the Class Refrigerators; (b)

                       issuing warnings and/or notices to consumers and Class Members

                       concerning the Defects; and (c) immediately discontinuing the manufacture,

                       production,   marketing,        distribution,   and   sale   of   the   defective

                       refrigerator/freezers described in this Complaint;

                F.     An order awarding Plaintiffs and Class Members pre-judgment and post-

                       judgment interest as allowed by law;

                G.     And order awarding Plaintiffs and Class Members reasonable attorneys’

                       fees and costs of suit, including expert witness fees; and
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                  H.   An order awarding such other and further relief as this Court may deem just

                       and proper.


                                         I.     JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on all issues so triable

 under the law.


 Dated: June 2, 2017                                  SIMMONS HANLY CONROY LLC

                                                      /s/ Mitchell M. Breit
                                                      Mitchell M. Breit
                                                      Paul J. Hanly, Jr. (pro hac vice to be
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